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                                            #:45482



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                   S
                                                 UNITED STATES DISTRICT COURT
                   9
                                            CENTRAL DISTRICT OF CALIFORNIA
               10
                                              EASTERN DIVISION
               11      CARTER BRYANT, an individual , ^ CASE NO. CV 04-9049 SGL {RNBx}
               12                   Plaintiff,                Consolidated with
                                                              Case No . CV 04-09059               -
               13            vs.                              Case No. CV OS-02727
               14      MATTEL, INC., a Delaware                PUBLIC REDACTEDLCORRECTED
                       corporation,                           MATTEL INC . ' S STA TEMENT OF
               15                                             GENUINE ISSUES REGARDING
                                    Defendant.                BRYANT' S SEPARATE STATEMENT
               16                                             OF UNCONTESTED FACTS IN
                                                              SUPPORT OF BRYANT"S MOTION FC
               17      AND CONSOLIDATED ACTIONS               PARTIAL SUMMARY JUDGMENT
               18                                             Date: Apri122, 2008
                                                              Time: 10 :00 a.m.
               19                                             Place : Courtroom 1
               2a                                             Phase 1
                                                              Discovery Cut--Off:     Jan. 28, 2008
               21                                             Pre-Trial Conference:   May 5, 200$
                                                              Trial Date:             May 27, 2008
               22
               23

               24

               25

               26
               27

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                     1            Pursuant to Local Rules 56-1, 56-4, and this Court's February 22, 2007
                    2      Scheduling Order, Mattel submits its Corrected Statement of Genuine Issues
                    3      Regarding Bryant's Separate Statement of Uncontested Facts in Support of
                    4      Bryant's Motion for Partial Summary Judgment.
                    5
                           Material Fact                                    Dis uted or Undis uted
                    6
                           No Number: Bryant returned to work               Disputed
                    7      for Mattel in early 1999 after spending
                           several months pursuing a career as a            Bryant cites no evidence to support this
                    8      freelance artist in Missouri.                    im ro er headin          .
                           1.     In 1998 Bryant worked as a                Disputed
                    9      freelance    artist,   including     doing
                  10       freelance work for the Ashton Drake Anderson Decl. Ex. 1 (Bryant Dep.
                           galleries.                          143:2-16)'
                  11
                                                                            Contrary evidence:
                  12

                  13
                                                                            According to Bryant, he only worked as
                                                                            a freelance artist for Ashton Drake
                  14                                                        galleries in 1998. Deposition Transcript
                                                                            of Carter Bryant Vol, 1 {"Bryant Tr.
                  15                                                        Vol. 1 "}, dated November 4, 2004, at
                                                                            143 :12-16 (clarifying that althou h he
                  16
                                                                            desi ned reetin cards,
                  17

                  I8
                                                                    Bryant denies doing anything in the
                  19                                                design f eld at this time. Deposition of
                  20
                                                                    Carter    Bryant       in  Gunther-Wahl
                                                                    Productions, Inc. v. Mattel, Inc., dated
                  21                                                September 9, 2003, at 89:23-90:7, Zeller
                                                                    Dee., Exh. 6.
                  22       2.    Bryant sought to return to work at Undisputed
                           Mattel in late 199$.
                  23
                                                                    Exs. 1 (Bryant Dep. 15 0:1-14), 3
                  24                                                 B ant De .610:12-22, 611:13-22
                           3.    After interviewing Bryant twice, Undisputed
                  25       Mattel offered him a job as a doll
                           desi ner.                                Ex. 3 B ant De .612-5-614:19
                  26

                 27
                           ^ All exhibits cited to by Brant are to the Declaration of Christa M. Anderson in Support
                 ?R        of Bryant's Motion for Partial Summary 3udgment unless otherwise specified.


                                                                        1
X72 0 91244 7 7 8 3.1 D7
                                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
            Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 3 of 71 Page ID
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                          Material Fact                       Dis uteri or Undis uteri
                   1
                                                              Ex. 10 {BRYANT 001198-001199)
                   2                                          (December 9, 1998 letter from Mattel to
                                                              B ant statin offer of em to ment
                   3      4.   Bryant accepted the offer of Undisputed
                          employment at Mattel and moved from
                   4
                          Missouri to California to commence Ex. 2 {Bryant Dep. 442:15-18}
                   5      work at Mattel in earl 1999.
                          No Number:       On his first day of Disputed
                   b      employment at Mattel in January 1999,
                          Bryant was required to sign multiple Contradictory evidence:
                   7      form employment documents.                 Bryant cites no evidence to support this
                   8
                                                                     im ro er headin .
                          S.     Except for an offer letter, Mattel Disputed
                   9      did not send Bryant any paperwork until
                          after he had accepted its offer of at-will Ex. 3 (Bryant Dep. 615:4-5) (Bryant
                 10       employment with the company.               does not recall receiving enclosures with
                                                                     offer letter)
                 11
                                                                     Ex. 6 (Newcomb Dep. 31:1-34:19)
                 12                                                  (explaining Mattel practice of making
                                                                     offer of employment first and sending
                 13                                                  new hire paperwork separately and
                                                                     subsequently).
                 14

                 15                                                    Contrary evidence:

                 16                                             Bryant     received    the    Inventions
                                                                Agreement in the mail prior to his first
                 l7                                             day at Mattel. Deposition Transcript of
                                                                Lissa Freed {"Freed Tr."), dated May 3,
                 18
                                                                2007 at 37:7-18 {Mattel new hires are
                 19                                             mailed a packet before they arrive for
                                                                orientation that includes both their
                 20                                             Mattel      Conflict      of     Interest
                                                                Questionnaire        and      Inventions
                 21                                             A reement. ,Zeller Dec., Exh. S7.
                 22       6.    Upon resuming work at Mattel in Disputed
                          3anuary 1999, Bryant was required to
                 23       sign various "on-boarding" paperwork.        Ex. 6 (Newcomb Dep. 43:21-45:14,
                                                                       18:9-25) (Mattel practice of having new
                 24                                                    hires sign documents during first-half
                                                                       hour of orientation)
                 25
                                                                       Ex. 11 (Freed Dep. 36:6-37:25) (Types
                 26                                                    of documents new hires receive in
                                                                       association with their commencement of
                 27                                                    employment at Mattel}
                                                                       Ex. 7 Decl. of Lissa Freed In Su ort
                 7R

                                                                   2
0 7 2 0912447 7 8 3.107
                                '                            MATTEL'S STATEMENT OI+ GENUINE ISSUES RE BRYANT
         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 4 of 71 Page ID
                                          #:45485


              1 ^^ Material Fact                                 Uxsputea or una^sputea
                                                                 Of Mattel's Opp. to Bryant's Mot. to
              2                                                  Compel Resps. to Disc. Regs.) ("Freed
                                                                 Decl."), ¶ 4 (Mattel typically asks all
              3                                                  new employees joining EI Segundo
                                                                 headquarters    to    sign    Employee
              4                                                  Conf dential Information and Inventions
              5                                                  Agreement and Conflict of Interest
                                                                 Questionnaire).
              6
                                                                 Contrary evidence:
              7
                                                                 A prospective employee has the option
              8
                                                                 of signing the on-boarding paperwork if
              9                                                  he or she wishes to become a Mattel
                                                                 employee. The prospective employee is
             10                                                  free not to join Mattel and not sign the
             11   7.    The "on-boarding" paperwork              Undisputed
             12   that Bryant was required to sign
                  included   tax     paperwork,  benefits        Ex, 11 (Freed Dep. 36:6-37:25) (types
             13   paperwork,     a      document    titled       of documents new hires receive in
                  "Employee Confidential Information             association with their commencement of
             14   and       Inventions       Agreement,"         employment at Mattel)
                  ("Employee     Agreement"}     and     a       Ex. 7 {Freed Decl.), ¶ 4 {Mattel
             15
                  "Conflict of Interest Questionnaire"           typically asks all new employees joining
             16   ("Questionnaire").                             El Segundo headquarters to sign
                                                                 Employee            Agreement        and
             17                                                  Questionnaire).
                                                                 Ex. 8 (M 001596 - Employee
             18                                                  Agreement signed by Bryant)
             19                                                  Ex. 9 (M0001621 - Questionnaire

            20    8.    Bryant completed and signed the          Disputed as to "during the first half
                  "on-boarding" paperwork on January 4,          hour"
            21    1999 during the first half-hour of his
            22
                  Mattel orientation, following Mattel's         Ex. 6 (Newcomb Dep. 15:11-16:23,
                  standard orientation procedures for new        43:21-45:14, 48:9-25, 250:2-22) (Mattel
            23    employees.                                     practice is to have new hires sign
                                                                 documents during first-half hour of
            24                                                   orientation and this practice was
                                                                 followed during Bryant's orientation}
            25
                                                                 Ex. 7 (Freed DecL), ¶ 4 (Mattel
             2b                                                  typically asks all new employees joining
                                                                 E1 Segundo headquarters to sign
             27                                                  Employee            Agreement        and
                                                                 Ouestionnaire).
             ^R

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        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 5 of 71 Page ID
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                     Material Fact                               Dis uted or Undis uted
                 1
                                                                 Ex. 3 (Bryant Dep. 632:7-633:25}
             2                                                   (Bryant signed paperwork during
                                                                 orientation on first day of work at
             3                                                   Mattel in 1999) "
             4                                                   Contrary evidence:
             5
                                                             Deposition Transcript of Carter Bryant
             6                                               Vol. 3 {"Bryant Tr. Vol. 3"), dated
                                                             November 8, 2004, at           633:17-20
             7                                               {Bryant testified that the orientation
                                                             session for his second          eriod of
                 S                                           em to ment at Mattel
                 9                                                             Zeller Dec., Exh. 3 ; id.
                                                             at 634:12-635:22 {B ant could onl
            10                                               remember si in
                                                                                            and even
            11                                               then, he does not recall when he signed
            12
                                                             it ,Zeller Dec., Exh. 3.
                     No Number: The Employee Agreement Disputed             .
            13       and Questionnaire were non-negotiable
                     form documents that were presented to Bryant cites no evidence to support this
            14       Bryant as forms that he was required to improper heading.
                     si n in order to commence em to ment.
            15
                     9.     Mattel's offer letter to Bryant Undisputed
            16       states that the offer of employment is
                     subject to his completion of the Ex. 10 {BRYANT OOI198-001199)
            17       Employee Agreement.                     {December 9, 199$ offer letter from
                                                             Mattel to B ant
            18
                     10. Mattel's offer letter to Bryant Disputed
            19       makes no mention of a confidential or
                     fiduciary relationship.                 Ex. 10 (BRYANT 001198-001199)
            20                                               (December 9, 1998 offer letter from
                                                             Mattel to Bryant}
            21

            22
                                                                 The evidence cited does not support
                                                                 the stated proposition:
            23
                                                                 The December 9, 1998 offer letter from
            24                                                   Mattel to Bryant reflects an intention to
                                                                 enter into a confidential relationship.
            25
                                                                 Mattel's Vice President of Human
            26                                                   Resources states

            27

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         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 6 of 71 Page ID
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                    Material Fact                            Dis uted or Undis uted
              1

              2

              3                                          Mattel 1998 Offer letter (emphasis
                                                         added ,Anderson Dec., Exh. 10.
              4     11.   The Employee Agreement signed Disputed
              5     by Bryant is a pre-printed form
                    document that was not customized for Ex. 8 {M 001596 - Employee
              6     Bryant in any way.                   Agreement signed by Bryant)
                                                         Ex. 11 (Freed Dep. 31:10-17; 32:6-I2}
              7                                          (Employee Agreement signed by Bryant
                                                         was a standard form that all new Mattel
              8
                                                         employees were required to sign in
              9                                          January of 1999}
                                                         Ex. 7 (Freed Decl.}, ¶ 4 {Mattel
             la                                          typically asks all new employees joining
                                                         El Segundo headquarters to sign
             11
                                                         Employee Agreement).
             12
                                                             Contrary evidence:
             13
                                                             Bryant never asked to negotiate, modify
             14                                              or customize his Inventions Agreement.
                                                             Bryant Tr. Vol. 3 at 631:9-639:22,
             15
                                                             Zeller Dec., Exh. 3.
             16
                                                             Mattel employee Alan Kaye testified
             17                                              employees had refused to sign the
                                                             inventions agreement       and that
             18
                                                             there   were
             19
                                                             Deposition Transcript of Alan Kaye,
            20                                               Vol. 1 ("Kaye Tr."}, December 10,
                                                             2004, at 215:3-216:23, Zeller Dec., Exh.
            21                                               65; see also Deposition Transcript of
            22
                                                             Adrienne Fontanelle ("Fontanelle Tr."),
                                                             dated January 16, 2008, at 26:11-2$:3,
            23                                               Zeller Dec., Exh. 114.
            24                                               Robert Hudnut, a Mattel employee
                                                             deposed in this case, made changes to
            25
                                                             Mattel's    Employee       Confidential
            2b                                               Information and Inventions Agreement,
                                                             as well as the Conflict of Interest
            27                                               Questionnaire. Hudnut Agreement,
                                                             Bates-numbered M 0098318-9, on
            7R

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                         '                          MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 7 of 71 Page ID
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                    Material Fact                              Dis uted or Undis uted
              1
                                                               which he writes
              2
                                                                          Zeller Dec., Exh. 7; Hudnut's
              3                                                side letter, Bates-numbered M 0098320-
                                                               1, Zeller Dec., Exh. 8; Hudnut's
                                                               Questionnaire,      Bates-numbered   M
              5                                                0098322-3, on which he writes

              6                         '                                                       Zeller
                                                               Dec., Exh. 9; Deposition Transcript of
              7                                      Robert Hudnut Vol. 1 ("Hudnut Tr. Vol.
                                                     1 "), dated 3uly 13, 2007, at 209: 14-
              8
                                                     211:15, 216:25-220:3, Zeller Dec., Exh.
              9                                      10.
                    12. Mattel's lawyers drafted the Undisputed
             10     Employee Agreement.
                                                     Ex. 12 (Mattel's Responses to MGA's
             11                                      Fifth Set of Regs. for Admis.}, Nos. 26,
             I2                                      27 {Mattel admits that it drafted the
                                                               Employee Agreement signed by Bryant)
             13                                                Ex. 13 (Simpson-Taylor dep. 65:4-14,
                                                               52:17--53:25) (Mattel's lawyers drafted
             I4                                                Em to ee A reement
                    13.   The Employee Agreement has no        Disputed as to "or options"
             1S
                    blank lines or options for filling in or
             16     altering the specific terms.             Ex,     8   (M 001596 - Employee
                                                               Agreement signed by Bryant)
             17
                                                               Contrary evidence:
             18

             19                                                Bryant never asked to negotiate, modify
                                                               or customize his Inventions Agreement.
            20                                                 Bryant Tr. Vol. 3 at 631:9-639:22,
                                                               Zeller Dec., Exh. 3.
            21

            22
                                                               Mattel employee Alan Kaye testified
                                                               employees had refused to sign the
            23                                                 inventions agreement          and that
                                                               there    were
            24                                                                                   Kaye
                                                               Tr. at 215:3-216:23, Zeller Dec., Exh.
            25
                                                               65; see also Fontanelle Tr. at 26:11-
            26                                                 28:3, Zeller Dec., Exh. 114.

            27                                                 Robert Hudnut made changes to Mattel's
                                                               Em to ee Confidential Information and
            7R

                                                           6
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                          '                           MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
             Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 8 of 71 Page ID
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                           Material Fact                                Dis uted or Undis uted
                    1
                                                                        Inventions Agreement, as well as the
                    2                                                   Conflict of Interest Questionnaire.
                                                                        Hudnut Agreement, Bates-numbered M
                    3                                                   0098318-9, on which he writes
                    4                                                                             Zeller Dec.,
                    5                                                   Exh. 7; Hudnut's side letter, Bates-
                                                                        numbered M 0098320-1, Zeller Dec.,
                    6                                                   Exh. 8; Hudnut's Questionnaire, Bates
                                                                        numbered M 0098322-3, on which he
                   7                                                    he writes
                    8
                                                                                   Zeller Dec., Exh. 9; Hudnut
                    9                                                 Tr. Vol. 1 at 209:14-211:15, 216:25-
                                                                      220:3, Zeller Dec., Exh. 10.
                  la       14. The Employee Agreement does Disputed
                           not state that Bryant has a fiduciary duty
                  11       to Mattel.                                   Ex.   $   (M 001596 - Employee
                  12                                                    Agreement signed by Bryant)

                  13                                                    The evidence cited does not support
                                                                        the stated proposition:
                  14
                                                                        The opening paragraph of the agreement
                  15
                                                                        states, among other thin s, that the
                  16                                                    em to ee

                  17
                  18                                                                                  when
                  19                                                    employment with the com an ends.
                                                                        Further,
                  2a
                  21
                  22

                  23
                  24

                  25
                  26
                                                                                       Inventions Agreement
                  27                                                    (emphasis added), Anderson Dec., Exh.
                                                                        8.
                  ^R

                                                                    7
0 72 0 912 44 7 78 3.107
                                                              MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 9 of 71 Page ID
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                    Material Fact                    Dis uted or Undis uted
              1
                    15. Mattel's lawyers drafted the Undisputed
              2     Questionnaire.
                                                           Ex. 12 (Mattel's Responses to MGA's
              3                                            Fifth Set of Reqs. for Admts.), Nos. 28,
                                                           29 (Mattel admits that it drafted the
              4                                            Questionnaire signed by Bryant)
              5                                            Ex. 14 (Tafoya dep. 88:9-14) {Mattel's
                                                           lawyers drafted the Questionnaire}
              6                                            Ex. 9 (M 0001621 - Questionnaire
                                                           si ned b B ant
              7     16.        The Employee Agreement does Disputed
                    not reference any particular invention
              8
                    that falls under it.                         Ex. 12 (Mattel's Responses to MGA's
              9                                                  Fifth Set of Reqs. for Admis.}, No. 11.
             14                                 .                The evidence cited does not support
                                                                 the stated proposition:
             I1

             12                                                  Mattel admitted that

             13
                                                                                 However, Mattel further
             14                                                  admitted that
             15

             16                                                                          See .Mattel's
                                                                 Response to Bryant's Request for
             17                                                  Admission No. 11, Anderson Dec., Exh.
                                                                 12.
             18

             19                                                  Contrary evidence:

            20                                                   The Inventions A reement reads,
            21

            22

            23
                                                                         Inventions Agreement at
            24                                              2 b ,Anderson Dec., Exh. 8.
                    17.  The Employee Agreement was Disputed
            25
                    presented to Bryant as a form that he
            26      was required to sign in order to Ex. 1 (Bryant Dep. 30:21-31:25)
                    commence employment.                  {Bryant was instructed to sign forms to
            27                                            begin work}
                                                          Ex. 14 Tafo a De           38:22-39:10
            7R


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                           '                            MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 10 of 71 Page ID
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                    Material Fact                      Dis uted or Undis uted
              1
                                                       {Mattel employee responsible         for
              2                                        Bryant's orientation testif es that if a
                                                       new hire had asked if all of the forms
              3                                        had to be signed, she would have replied
                                                       that they did)
              4                                        Ex. 6 {Newcomb Dep. 115:12-24) (new
              S
                                                       Mattel employees required to sign
                                                       Employee Agreement}
              6                                        Ex. i 4 (Tafoya Dep. 31:14-18) (new
                                                       Mattel employees required to sign
              7                                        Employee Agreement and Questionnaire
                                                       as written)
              S
                                                       Ex. 7 ("Freed Decl."}, '^ 4 (Mattel
              9                                        typically asks all new employees joining
                                                       El Segundo headquarters to sign
            10                                         Employee           Agreement         and
                                                       Questionnaire}
            1I

            12                                         The evidence cited in Ex. ^.4 daes not
                                                       support the stated proposition:
            13
                                                       In the first portion of Ms. Tafoya's
            14                                         testimony cited by Bryant, she states
                                                       simply that she thinks that she
             15
                                                       conducted                      of the
             16                                        new-hire orientations at Mattel's Ei
                                                       Segundo headquarters from roughly
            17                                         sometime in 1997 through sometime in
                                                       1999.      Deposition Transcript of
             18                                        Maureen Tafoya ("Tafoya Tr. "), dated
             19^                                       January 28, 2008, at 38:22- 39:10,
                                                       Anderson Dec., Exh. 14.
            20
                                                       Contrary evidence:
            21
                                                       Bryant never asked to negotiate, modify
            22
                                                       or customize his Inventions Agreement.
            23                                         Bryant Tr. Vol. 3 at 631:9-639:22,
                                                       Zeller Dec., Exh. 3.
            24
                                                       Mattel employee Alan Kaye testif ed
            25                                         employees had refused to sign the
            26                                         inventions agreement          and that
                                                       there    were
            27                                                                           Kaye
                                                       Tr. at 215:3-216:23, Zeller Dec., Exh.
            ^^

                                                   9
a7zosrzaa^7ss.^o^        '                    MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                     Material Fact                             Dis uted or Undis uted
               1
                                                               65; see also Fontanella Tr, at 26:11-
               2                                               28:3, Zeller Dec., Exh. 114.

               3                                               Robert Hudnut made changes to Mattel's
                                                               Employee Confidential Information and
               4                                               Inventions Agreement, as well as the
               5                                               Conflict of Interest Questionnaire.
                                                               Hudnut Agreement, Bates-numbered M
               6                                               0098318-9, on which he writes
               7                                                                         Zeller Dec.,
                                                               Exh. 7; Hudnut's side letter, Bates-
               8
                                                               numbered M 0098320-1, Zeller Dec.,
               9                                               Exh. 8; Hudnut's Questionnaire, Bates-
                                                               numbered M 0098322-3, on which he
             la                                                he writes
             11                                                             Zeller Dec., Exh. 9; Hudnut
             12
                                                               Tr. Vol. 1 at 209:14-211:15, 216:25-
                                                               220:3, Zeller Dec., Exh. I0.
             13
                                                               The Court found previously that Bryant
             14                                                could not state a claim based on
                                                               unconscionability.        Court's Order
             15
                                                               Granting Motion to Dismiss, dated 3uly
             16                                                I7, 2006, at 14, ("It is not surprising or
                                                               overly harsh that Mattel would expect
             17                                                its     trade    secrets   and    proprietary
                                                      information to be kept conf dential; the
             18                                       same is true regarding Mattel's
             19
                                                      expectation that the works of its design
                                                      staff - created by Mattel employees,
             20                                       using Mattel's resources, during time for
                                                      which Mattel paid the employee - be
             21                                       considered its property.       Therefore,
                                                      Bryant cannot state a claim based on
             22
                                                      unconscionability."), Zeller Dec., Exh.
             23                                       105.
                     18.   The Employee Agreement was Disputed as to " even tens of
             24      signed by all Design Center employees,        thousands"     and     as    to   Tafoya
                     and many others, amounting to testimony
             25
                     thousands (even tens of thousands) of
             26      Mattel employees.                     Ex. 7 (Freed Decl.), ¶ 4 (Mattel
                                                           typically asks all new employees joining
             27                                            El Segundo headquarters, including the
                                                           Desi n Center, to sin Em to ee
             7R

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                                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                      Material Fact                      Dis uted or Undis uted
                                                         Agreement).
                                                         Ex. 7 (Freed Decl.), ¶ 4 {Mattel
                                                         currently employes nearly 750 people in
                                                         the Design Center alone and, since
                                                         1995, Mattel has employed more than
                  4                                      2000 employees at the Design Center).
                  ^                                      Ex. 15 (2000 Mattel, Inc. Annual
                                                         Report, 16} (Mattel has over 30,000
                                                         employees worldwide}
                                                         Ex. 14 (Tafoya Dep. 30:4-21, 40:14-
                  '                                      41:5) {Employee Agreement was signed
                                                         by new Mattel employees as part of
                  '                                      standard orientation procedure}
                  ^                                      Ex. 16 (Park Dep. 240:25-241:4) (new
                                                         Mattel employees must sign paperwork
             1^ 1                                        upon arrival at Mattel}
                                                         Ex. 17 (Mattel's Supplemental Resps. to
             1
                                                         Bryant's Second Set of Interrogs.), No.
             1:                                          20    {Mattel      seamstresses signed
                                                         agreements relating to employment at
             1:                                          Mattel}
             1^ ^                                        The evidence cited does not support
                                                         the stated proposition:
             1.

             1^                                          Bryant does not resent any evidence
                                                         that                       of Mattel
             1' '                                        employees have signed the Inventions
                                                         Agreement.
             1;

             1! }                                        In the testimony of Ms. Tafoya cited,
                                                         she does not say whether or not the
             2i                                          Employee Agreement was signed by
                                                         new Mattel employees as part of the
             2                                           standard orientation procedure. Tafoya
             2:
                                                         Tr. at 30:4-21, 40:14-41:5.

             2:                                          Contrary evidence:
             2^ ^                                        Bryant never asked to negotiate, modify
                                                         or customize his Inventions Agreement.
             2;
                  '                                      Bryant Tr, Vol. 3 at 631:9-639:22,
             2+                                          Zeller Dec., Exh. 3.

             2' '                                        Mattel employee Alan Kaye testified
                                                         em to ees had refused to sin the
             ^;


                                                    11
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                                               MATTEL'S STATEMENT OF GENUINE ISSUES ItE BIZYANT
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 13 of 71 Page ID
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              1      Material Fact                           Drs uted or Undis uted
                                                             inventions agreement             and that
              2                                              there   were
                                                                                               Kaye
              3                                              Tr. at 215:3-216:23, Zeller Dec., Exh.
                                                             6S; see also Fontanella Tr. at 2b:11-
              4                                              28:3, Zeller Dec., Exh. 114.
              5
                                                             Robert Hudnut made changes to Mattel's
              6                                              Employee Confidential Information and
                                                             Inventions Agreement, as well as the
              7                                              Conflict of Interest Questionnaire.
                                                             Hudnut Agreement, Bates-numbered M
                                                             0098318-9, on which he writes
              9
                                                                                       Zeller Dec.,
             10                                              Exh. 7; Hudnut's side letter, Bates-
                                                             numbered M 0098320-1, Zeller Dec.,
             11                                              Exh. 8; Hudnut's Questionnaire, Bates-
                                                             numbered M 0098322-3, on which he
             12
                                                             he writes
             13
                                                                        Zeller Dec., Exh. 9; Hudnut
             14                                            Tr. Vol. 1 at 209:14-211:15, 21 b:25-
                                                           220:3. Zeller Dec., Exh. 10.
             15
                      19.  The Questionnaire was presented Disputed
             16      to Bryant as a form that he was required
                     to sign in order to commence Ex. 1 (Bryant Dep. 30:21-31:25)
             17      employment.                              (Bryant was instructed to sign forms to
                                                              begin work}
             18                                               Ex. 14 (Tafoya Dep. 3 8 :22-3 9:10)
                                                              (Mattel employee responsible          for
             19
                                                              Bryant's orientation testif es that if a
             20                                               new hire had asked if all of the forms
                                                              had to be signed, she would have replied
             21                                               that they did)
                                                              Ex. 14 (Tafoya Dep. 31:14-18) {new
             22
                                                              Mattel employees required to sign
             23                                               Employee Agreement and Questionnaire
                                                              as written)
             24                                               Ex. 7 ("Freed Decl."), ¶ 4 {Mattel
                                                              typically asks all new employees joining
             25                                               El Segundo headquarters to sign
                                                              Employee            Agreement        and
             2b
                                                              Questionnaire}
             27
                                                                 The evidence cited in Ex. 14 does not
             7R

                                                            12
U72o9^z447783 .107                                     MATTEL 'S STATEMENT OF GENUINE ISSU
         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 14 of 71 Page ID
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                   1   Material Fact                  Dis uted or Undis uted
                                                      support the stated proposition:
                   Z
                                                     In the first portion of Ms. Tafoya's
                   3                                 .testimony cited by Bryant, she states
                                                     simply that she thinks that she
                   ^                                 conducted                      of the
                   ^                                 new-hire orientations at Mattel's El
                                                     Segundo headquarters from roughly
                   5                                 sometime in 1997 through sometime in
                                                      1999.   Tafoya Tr, at 38:22- 39:10,
                   ^                                 Anderson Dec., Exh. 14.

                   ^                                  Contradictory evidence:

                                                      Robert Hudnut made changes to Mattel's
                   ^                                  Employee Confidential Information and
                                                      Inventions Agreement, as well as the
                 ^                                    Conflict of Interest Questionnaire.
              I' ^                                    Hudnut Agreement, Bates-numbered M
                                                      009831$-9, on which he writes
              13
                                                                               Zeller Dec.,
              1^ ^                                   Exh. 7; Hudnut's side letter, Bates-
              1
                                                     numbered M 0098320-1, Zeller Dec.,
                                                     Exh. 8; Hudnut's Questionnaire, Bates-
                   ;                                 numbered M 0098322-3, on which he
                                                     he writes
              1' r
                   ^                                              Zeller Dec., Exh. 9; Hudnut
              l^
                                                     Tr. Vol. 1 at 209:14-211:15, 2I6:25-
              1'. ^                                  220:3, Zeller Dec., Exh. 10.

             2{                                      In addition, the Court found previously
                                                     that Bryant could not state a claim based
             21                                      on unconscionability.      Court's Order
             2;                                      Granting Motion to Dismiss, dated July
                   '                                 17, 2006, at 14, ("It is not surprising or
             2: s                                    overly harsh that Mattel would expect
                                                     its trade secrets and proprietary
             2^ ^                                    information to be kept conf dential; the
                                                     same is true regarding Mattel's
             2:
                   '                                 expectation that the works of its design
             2i                                      staff -created by Mattel employees,
                                                     using Mattel's resources, during time for
             2' '                                    which Mattel paid the employee - be
                                                     considered its ro ert          Therefore,
             ^^

                                                   13
o72osizaa7^aa.^ ^^
                                               MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 15 of 71 Page ID
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                     Material Fact                      Dis uted or Undis uted
               1
                                                        Bryant cannot state a claim based on
               2                                        unconscionability."), Zeller Dec., Exh.
                                                        105.
               3 20.   Mattel   gave     new     Mattel Disputed
                  employees no opportunity to negotiate
               4
                  the terms of their employment Ex. 6 (Newcomb Dep. 43:17-20)
               5 paperwork, including the Employee {Mattel Senior Recruiter not aware of
                  Agreement                             any instance in which non-executive
               6                                        employee has negotiated the terms of
                                                        their employment with Mattel)
               7                                        Ex. 6 {Newcomb Dep. 113 :12-19}
               8
                                                        {Mattel Senior Recruiter who witnessed
                                                        Bryant sign Employee Agreement
               9                                        testifies that Employee Agreement is not
                                                        a negotiable document}
              la                                        Ex. 6 (Newcomb Dep. 114:7-12)
                                                        {Mattel Senior Recruiter who witnessed
              11
                                                        Bryant sign Employee Agreement not
              12                                        aware of any employee not signing
                                                        Employee Agreement or Questionnaire)
              13                                        Ex. 11 (Freed Dep. 39:21-40:24) (Mattel
                                                        human       resources   employees    not
              14                                        authorized to make any changes to
              15-
                                                        Employee Agreement}
                                                        Ex. 14 {Tafoya Dep. 31:19-32:11}
              16                                        {Mattel employee responsible         for
                                                        Bryant's orientation understood that
              17                                        new hires were required to sign the
                                                             forms as written)
              18

              19                                             The evidence cited in Exh. 14 does not
                                                             support the stated proposition:
             20
                                                             Tafo a ex lained that
             21

             22
                                                                                     Anderson Dec.,
             23                                              Exh, 14 at 31:19-25.
             24                                              Contrary evidence:
             25
                                                             Bryant never asked to negotiate, modify
             26                                              or customize his Inventions Agreement.
                                                             Bryant Tr. Vol. 3 at 631:9-639:22,
             27                                              Zeller Dec., Exh. 3.
             7R


                                                        14
a7zasizaa»aa. ^ o^
                                                   MATTEL'S STATEMENT OF GENUINE ISSUES RE SRYANT
         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 16 of 71 Page ID
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                1 p Material Fact                              Disputed or Undisputed
                                                               Mattel employee^Aian Kaye testified
               2                                               employees had refused to sign the
                                                               inventions agreement          and that
               3                                               there    were
                                                                                                 Kaye
               4                                               Tr. at 215:3-21b:23, Zeller Dec., Exh.
               5                                               65; see also Fontanella Tr. at 26:11-
                                                               28:3, Zeller Dec., Exh. 114.
               6
                                                               Newcomb did not differentiate between
               7                                               executives and non-executives. Rather,
                                                               she did not remember either type of
               S
                                                               employee negotiating the terms of their
               9                                               employment.     See Newcomb Tr. at
                                                               42:25-43:20, Zeller Dec., Exh. 14.
              la
                                                               Nonetheless, Newcomb witnessed the
              I1                                               Inventions Agreement of Robert Hudnut
              I2                                               who negotiated his agreement with
                                                               Mattel. Robert Hudnut made changes to
              13                                               Mattel's Inventions Agreement, as well
                                                               as the Conflict of Interest Questionnaire.
              14                                               See     Hudnut      Agreement,     Bates-
                                                               numbered M 0098318-9, (on which he
              15
                                                               writes
              lb
                                                               - Zeller Dec., Exh. 7; Hudnut's
              17                                               side letter, Bates-numbered M 0098320-
                                                               1, Zeller Dec., Exh. 8; Hudnut's
              18                                               Questionnaire,      Bates-numbered  M
              19                                               0098322-3, on which he he writes

              20
                                                         Zeller Dec., Exh. 9; Hudnut Tr. Vol. 1 at
              21                                         209:14--211:15, 21 b:25-220:3, Zeller
              22
                                                         Dec., Exh. 10.
                    21.    Maureen Tafoya, the Mattel Disputed
              23    human resources employee responsible
                    for conducting Bryant's orientation, Ex. 14 (Tafoya Dep. 31:19-32:11)
              24    understood that new hires were (Mattel employee responsible for
                    obligated to sign the Employee Bryant's orientation understood that
              25
                    Agreement    and Questionnaire    as new hires were required to sign the
              26    written.                             forms as written)
                                                         Ex. 11 (Freed Dep. 40:16-20} {Ms.
             27                                          Tafoya was Mattel manager who
                                                         conducted Brvant's orientation)
              7R


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                                                                                                    ANT
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                  Material Fact                        Dis uted or Undis uted
              1

              2                                        The evidence cited does not support
                                                       the stated proposition:
              3
                         "                             Tafo a ex lamed that
              4

              5
                                                                                 Anderson Dec.,
              6                                        Exh. 14 at 31:19-25.
              7                                        Freed testified that she
                                                       Tafoya was doing orientation when
              S
                                                       Bryant was rehired in 1999. Anderson
              9                                        Dec., Exh. 11 at 40:16-20.

            la                                         Bryant never asked to negotiate, modify
                                                       or customize his Inventions Agreement.
            11                                         Bryant Tr. Vol. 3 at 631:9-639:22,
            12
                                                       Zeller Dec., Exh. 3.

            13                                         Mattel employee Alan Kaye testified
                                                       employees had refused to sign the
             14                                        inventions agreement            and that
                                                       there   were
             15
                                                                                         Kaye
             16                                        Tr. at 215:3-216:23, Zeller Dee., Exh.
                                                       65; see also Fontanelle Tr. at 26:11-
             17                                        28:3, Zeller Dec., Exh. 114.
             18                                        Robert Hudnut made changes to Mattel's
             19
                                                       Employee Confidential Information and
                                                       Inventions Agreement, as well as the
            20                                         Conflict of Interest Questionnaire.
                                                       Hudnut Agreement, Sates-numbered M
            21                                         0098318-9, on which he writes
            22
                                                                                Zeller Dec.,
            23                                         Exh. 7; Hudnut's side letter, Bates-
                                                       numbered M 0098320-1, Zeller Dec.,
            24                                         Exh. 8; Hudnut's Questionnaire, Bates-
                                                       numbered M 0098322-3, on which he
            25                                         he writes
            26
                                                                    Zeller Dec., Exh, 9; Hudnut
            27                                         Tr. Vol. 1 at 209:14-211:15, 216:25-
                                                       220:3, Zeller Dec., Exh. 10.
             7R

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                                              MA 1 11JL'^ ^7 A 11=;M1JN 1
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 18 of 71 Page ID
                                          #:45499


                    Material Fact                            Dis uted or Undis uted
              1
                    22.    Teresa Newcomb, the Mattel            Disputed
              2     Senior Recruiter who witnessed Bryant
                    sign the Employee Agreement in 1999,     Ex. 6 {Newcomb Dep. 113:12-19)
              3     admitted that the Employee Agreement     (Mattel Senior Recruiter who witnessed
                    is not a negotiable document.            Bryant sign Employee Agreement
              4                                              testifies understood that Employee
              5                                              Agreement        is   not   a    negotiable
                                                             document)
              6                                              Ex. 6 (Newcomb Dep. 43:21-44:9) (Ms.
                                                             Newcomb witnessed Bryant sign
              7                                              Employee Agreement)
              8
                                                                 Contrary evidence:
              9
                                                                 Bryant never asked to negotiate, modify
             10                                                  or customize his Inventions Agreement.
                                                                 Bryant Tr. Vol. 3 at 631:9-639:22,
             Il                                                  Zeller Dec., Exh. 3.
             12
                                                                 Mattel employee Alan Kaye testified
             13                                                  employees had refused to sign the
                                                                 inventions agreement          and that
             14                                                  there    were
                                                                                                   Kaye
             15
                                                                 Tr. at 215:3-216:23, Zeller Dec., Exh.
             16                                                  65; see also Fontanella Tr. at 26:11-
                                                                 28:3, Zeller Dec., Exh. 114.
             17
                                                                 Newcomb witnessed the Inventions
             18                                                  Agreement of Robert Hudnut who
             19                                                  negotiated his agreement with Mattel.
                                                                 Robert Hudnut made changes to Mattel's
            20                                                   Inventions Agreement, as well as the
                                                                 Conflict of Interest Questionnaire. See
            21                                                   Hudnut Agreement, Bates-numbered M
            22
                                                                 0098318-9, on which he writes

            23                                                                               Zeller Dec.,
                                                                 Exh. 7; Hudnut's side letter, Bates-
            24                                                   numbered M 0098320-1, Zeller Dec.,
                                                                 Exh, 8; Hudnut's Questionnaire, Bates-
            25
                                                                 numbered M 0098322-3, on which he
            26                                                   he writes

            27                                                               Zeller Dec., Exh. 9; Hudnut
                                                                 Tr. Vol. 1, at 209:14-211:15, 216:25-
            7R


                                                            17
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                                                    MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                    Material Fact                           Dis uted or Undis uted
              1
                                                            220:3, Zeller Dec., Exh. 10.
              2     No Number: Mattel did nothing to Disputed
                    ensure that Bryant understood the terms
              3     of the Employee Agreement.              Bryant cites no evidence to support this
                                                            im ro er headin .
              4
                    23. Mattel did not provide employees Disputed
              5     with       any   written   instructions     or
                    explanations       of      the   Employee Ex. 6 (Newcomb Dep. 221:18-223 :1 I )
              6     Agreement.                                (sole role of Mattel witness at
                                                              orientation was to insure that new
              7                                               employees signed the documents----not
                                                              to instruct new employees to read
              8
                                                              documents or to verify that documents
              9                                               had been read)
                                                              Ex. 6 (Newcomb Dep. 223:12-225:20)
            10                                                (not appropriate for Mattel human
                                                              resources employees who served as
            11                                                witnesses at new employee orientations
             12                                               to answer questions regarding the
                                                              forms)
             13                                               Ex. 6 {Newcomb Dep. 15:21-16:23)
                                                              (first half hour of Mattel orientation is
             14                                               allotted to             paperwork that
                                                              new employees should have filled out in
             15
                                                              advance}
             1b                                               Ex. 14 (Tafoya Dep. 41:3-5} (Mattel
                                                              employee responsible for Bryant's
             17                                               orientation does not recall any
                                                                          instruction   being    provided to new
             18                                                           employees regarding the terms or form
             19                                                           of the Employee Agreement}

            20                                                            Contrary evidence:
            21                                                        Bryant never asked to negotiate, modify
            22
                                                                      or customize his Inventions Agreement.
                                                                      Bryant Tr. Vol. 3 at 631:9-639:22,
            23                                                            Zeller Dec., Exh. 3.
            24                                                            Deposition Transcript of Amy Myers
                                                                          ("Myers Tr.") , dated February 22 , 2008 ,
            25
                                                                          at 216:19-23 (former Mattel employee
            26                                                            Amy Myers testified that the Mattel
                                                                          agreement had been explained to her},
            27                                                            Zeller Dec., Exh. 12.
            7R

                                                                     18
o72osrzaa^7as.^a^          •                                  MATTI✓ L'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                    Material Fact                              Dis uted or Undis uted
              1
                                                               Neither Newcomb or Tafoya recalled
              2                                                anyone ever asking any questions about
                                                               the Inventions Agreement. Newcomb
              3                                                Tr. at 223:12-1 S, Anderson Dec., Exh.
                                                               6; see also Tafoya Tr. at 31:19-25,
              4                                              Anderson Dec., Exh. 14. Newcomb
              5                                              further testified that if someone had
                                                             asked her a question, she would have
              6                                              referred them to
                                                                                    Newcomb Tr. at
              7                                              223:16-21, Anderson Dec., Exh. 6.
                    24.    Mattel did nothing to verify that Disputed as to "or give him time to do
              8
                    Bryant had read the Employee so" and "instruct him to read the
              9     Agreement, nor did it instruct him to document"
                    read the document or give him time to
             la     do so.                                   Ex. 6 (Newcomb Dep. 221:18-223 :11)
                                                             (sole role of Mattel witness at
             11
                                                             orientation was to insure that new
             12                                              employees signed the documents-not
                                                             to instruct new employees to read
             13                                              documents or to verify that documents
                                                             had been read)
             14
                                                               Contrary evidence:
             15
             16                                                Bryant     received    the    Inventions
                                                               Agreement in the mail prior to his first
             17                                                day at Mattel. Freed Tr. at 37:7-1 S,
                                                               Zeller Dec., Exh. 57 (Mattel new hires
             18                                                are mailed a packet before they arrive
             19                                                for orientation that includes both their
                                                               Mattel      Conflict      of     Interest
            20                                                 Questionnaire        and      Inventions
                                                               Agreement.).
            21

            22
                                                               The Inventions Agreement Bryant
                                                               signed in 1999 was similar to the one he
            23                                                 executed when he previously worked for
                                                               Mattel.    1995 Inventions Agreement,
            24                                                 Zeller Dec,, Exh. 3 3.
            25                                                 Bryant understood the employment
            26                                                 agreement. In 2001, Bryant explained
                                                               to Marlow the copyright assignment in
            2^                                                 his contract with MGA, which was at
                                                               least as technical as his Mattel
            7R


                                                          19
o72osr2aa7^as.^a^
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES R.E BItYANT
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                    Material Fact                                  Disputed or Undisputed   _
               1
                                                                   Inventions    Agreement.    E-mail
               2                                                   Exchange between Carter Bryant and
                                                                   Veronica and Peter Marlow, Bates-
               3                                                   numbered     KMW-M 007635-8, at
                                                                   007636     !where Brvant explained,
               4

               5

               6

               7

               8

               9                                                                                     Geller
                                                                   Dec., Exh. 13; Deposition Transcript of
             10                                                    Carter Bryant Vol . 4 ("Bryant Tr. Vol.
                                                                   4"), dated January 23, 2008, at 861:1$-
             11                                                    862:2, Zeller Dec., Exh. ^.
             12
                                                         The Employee Confidential Information
             13                                          and     Inventions     Agreement      itself
                                                         instructed Bryant to read it. Above
             14                                          Bryant's signature line, the agreement
                                                         stated    in     bold,    capital   letters:
             15
                                                         "CAUTION:         THIS      AGREEMENT
             16                                          CREATES                     IMPORTANT
                                                         OBLIGATIONS OF TRUST AND
             l7                                          AFFECTS          THE       EMPLOYEE' S
                                                         RIGHTS TO INVENTIONS THE
             18                                          EMPLOYEE MAY 1VIAKF DURING
             19                                          HIS OR HER EMPLOYMENT."
                                                         Inventions Agreement, Proctor Dec.,
             20                                          Exh. 5.
                    25.  Mattel personnel who witnessed Disputed
             2l     new employees sign the Employee
             22
                    Agreement were instructed not to Ex. 6 {Newcomb Dep. 223:12-225:20}
                    answer questions about the document. (Mattel Senior Recruiter who witnessed
             23                                          Bryant sign Employee Agreement
                                                         testified that it was not appropriate for
             24                                          Mattel human resources employees who
                                                         served as witnesses at new employee
             2S
                                                         orientations     to    answer     questions
             26                                          regarding the forms)

             27                                                    The evidence cited does not support
                                                                   the stated p roposition:
             7R


                                                             20
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        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 22 of 71 Page ID
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                      Material Fact                               Dis uted or Undis uted
                  1

              2                                                The parenthetical summarizing Ex. 6 is
                                                               misleading. While the cited testimony of
                  3                                            Newcomb does state that Mattel
                                                               personnel    who      ^itr^essed    new
              4                                                employees     sign     the     Employee
                  5
                                                               Agreement were instructed not to
                                                               answer questions about the document,
                  6                                            Newcomb also testifies that new
                                                               employees could easily obtain such
                  7                                            answers from a Mattel employee,
                                                               simply by asking. See Newcomb Tr. at
                  8
                                                               223:12-225:20, Anderson Dec., Exh. 6.
                  9
                                                                  Contrary evidence:
             10
                                                                  Former Mattel employee Amy Myers
             11                                              testified that Mattel explained her
             12
                                                             Mattel agreement to her. Myers Tr. at
                                                             216:19-23, Zeller Dec., Exh. 12.
             13       26.   Mattel orientation for new Disputed
                      employees did not involve any
             14       substantive discussion of the Employee Ex. 6 {Newcomb Dep. 15:21-16:23}
                      Agreement.                             {firsfi half hour of Mattel orientation is
             15
                                                             allotted to              paperwork that
             16                                              new employees should have f lied out in
                                                             advance)
             17
                                                                  Contrary evidence:
             18

             19                                               Former Mattel employee Amy Myers
                                                              testified that Mattel explained her
             20                                               Mattel agreement to her. Myers Tr. at
                                                              216:19-23, Zeller Dec., Exh. i 2.
             21       No Number: Bryant's position at Mattel Disputed
             22       did not entail managerial or real
                      discretionary authority.                Bryant cites no evidence to support this
             23                                               im ro er headin .
                      27.    From January 4, 1999 until Disputed as to "higher-end dolls for
             24       October 19, 2000, Bryant worked as a adult collectors."
                      "Project Designer" in the Mattel Barbie
             25
                      collectibles department, which makes Ex. 10 {BRYANT 00119$-001199}
             26       higher-end dolls for adult collectors.  {December 9, 1998 letter from Mattel to
                                                                  Bryant offering Bryant employment as a
             27                                                   Project Designer at Mattel)
                                                                  Ex. 18 Nord uist De           57 :11-18
             7R

                                                             21
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                     Material Fact                             Dis uted or Undis uted
              1'                                               (Bryant worked at Mattel as a designer
              2                                                in the collectibles department)
                                                               Ex. 19 {Hoffman-Briggs Dep. 54:7-14)
              3                                                {Bryant worked as a designer at Mattel)
              4                                                Contrary evidence:
              5
                                                               Some BARBIE Collectibles dolls are
              6                                                played with and purchased by or for
                                                               children.   See Tomiyama Tr. at 48:19-
              7                                                49:3, Zeller Dec., Exh. 15.
                     28.         As a Project Designer, Bryant Disputed
              S
                     worked on a team of several dozen
              9      employees all of whom were supervised Ex. 20 (Driskill Dep, 302:9) B ant's
                     by Ann Driskill.                      farmer su ervisor ex laining
             10
                                                .              Ex. 1 (Bryant Dep. 241:13-25) {Bryant's
             11                                                jab responsibilities at Mattel included
             12
                                                               taking an assignment from              his
                                                               supervisors and creating a design that he
             13                                                believed was responsive to those
                                                               instructions)
             14                                                Ex. 19 (Hoffman-Briggs Depo. 54:23-
                                                               55:12) (process for doll design at Mattel
             15
                                                               entails     an      assignment       from
             16                                                management, the creation of a 2-D
                                                               design by a designer, and, if that design
             17                                                is approved, the creation of a 3-D design
                                                               by a pattern maker)
             18

             19                                                 Contrary evidence:

             20                                                Bryant's role at Mattel included
                                                               directing other employees. Tomiyama
             21                                                testified that his job duties at Mattel
                                                               included instructing people on what to
             22
                                                               do e.g., hair, face, and fashion details for
             23                                                dolls, Deposition Transcript of Christina
                                                               Tomiyama, {"Tomiyama Tr."), dated
             24                                                February 27, 2008, at 34:19-36:20
                                                                confirmin that B ant
             25

             26
                                                                                                  and that
             27                                                 he
                                                                               Zeller Dec., Exh. 15.
             7R

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o72oerzaa^^ss .^o7         ----. ^                       MATTEL'S STATEMENT OF GENllINE ISSUES RE BRY
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 24 of 71 Page ID
                                          #:45505


                  II Material Fact                  I Disputed or Undisputed                     Il

              2                                      Mattel designer Renee Pasko stated that
                                                     her job at Mattel included directing
              3                                      others since as a deli ner she would
                                                                                    as well as
              4                                      be consulted on
                                                     Deposition Transcript of Rene Pasko,
                                                     ("Pasko Tr."), dated rune 13, 2007, at
              6                                      50:21-52:21, Zeller Dec., Exh. 16
              7                                      Preliminary designers like Bryant also
                                                     instructed  development      designers.
              8
                                                     Tomiyama      Tr.     at    37:25-39:8
              9                                       acknowled in     that

             10
             11                                      Zeller Dec., Exh. 15.
             12
                                                     Pasko Tr. at 51 : 22-52:12    ex lainin
             13                                      that

             14
                                                                      She would do this by
             15
                                                     using the resources that she had by
             16                                      consulting with and ^ivin^ direction to

             17                                      -Zeller Dec., Exh.16 .
             18                                      Bryant    directed,    reviewed, and
             19                                      commented on the work of other Mattel
                                                     employees.     Bry ant Tr. Vol. 5 at
            20                                        1093 :14-1094:7 ^com^
            21

            22

            23
                                                     Dec., Exh. 5; Bryant Tr. Vol. 5 at
            24                                       1094:8-1095 :13 (confirming that he
                                                     gave direction and saw whether his
            25
                                                     directions were complied with), Zeller
            2s                                       Dec., Exh. 5.

            27                                       Evidentiary Ob_lections
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        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 25 of 71 Page ID
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                    Material Fact                             Disputed or Undisputed
               1
                                                              Objection to the supporting deposition
               2                                              transcript of Ann Driskill at 302:7-9 on
                                                              the grounds that it is an incomplete
               3                                              excerpt. Fed. R. Evid. 106.
              4
                    29. Each of the individuals on a Disputed
               5    Mattel design team-as well as Mattel
                    marketing personnel, Ms. Driskill and Ex. 20 (Driskill Dep. 302:9} B ant's
               6    her supervisors, and several outside former su ervisor ex laming
                    vendors^ontributed to the process of
               7    creating and producing a collectible Ex. 1 (Bryant Dep. 241:13-25) (Bryant's
               8
                    doll.                                 job responsibilities at Mattel included
                                                              taking    an    assignment     from    his
               9                                              supervisors and creating a design that he
                                                              believed was responsive to those
             10                                               instructions}
                                                              Ex. 19 (Hoffman-Briggs Depo. 54:23-
             11                                               55:12} (process for doll design at Mattel
             12                                               entails      an     assignment       from
                                                              management, the creation of a 2-D
             13                                               design by a designer, and, if that design
                                                              is approved, the creation of a 3-D design
             14                                               by a pattern maker).
             15
                                                                 Evidentiary Objections
             16
                                                              Objection to the supporting deposition
             17                                               transcript of Ann Driskill at 302:7-9 on
                                                              the grounds that it is an incomplete
             18                                               excerpt. Fed. R. Evid. l Ob.
             19     30.    Bryant did not control or initiate Disputed
                    the projects he worked on at Mattel.
             20                                               Ex. 1 (Bryant Dep. 241:13-25} (Bryant's
                                                              job responsibilities at Mattel included
             21                                               taking an assignment from his
             22                                               supervisors and creating a design that he
                                                              believed was responsive to those
             23                                               instructions)
                                                              Ex. 19 (Hoffman-Briggs Depo. 55:16-
             24                                               56:4) (designers at Mattel are assigned
                                                              specific projects from management and
             25
                                                              given guidelines on how to execute the
             26                                               project}
                                                                 Ex. 19 (Hoffman-Briggs Depo. 54:23-
             27                                                  55:12) (process for doll design at Mattel
                                                                 entails    an      assignment       from
             '7 R

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                    Material Fact                      Dis uted or Undis uted
              I
                                                       management, the creation of a 2--D
              2                                        design by a designer, and, if that design
                                                       is approved, the creation of a 3-D design
              3                                        by a pattern maker}
              4                                        Contrary Evidence:
              5
                                                       Bryant's   role    at   Mattel included
              6                                        directing other employees.      Tomiyama
                                                       testified that his job duties at Mattel
              7                                        included instructing people on what to
                                                       do e.g., hair, face, and fashion details for
              8
                                                       dolls, Tomiyama Tr. at 34:19-36:20
              9                                         confirmin that B ant

            10
                                                                                           and that
            11                                         he
             12                                                      Zeller Dec., Exh. i 5 .

            I3                                         Also, see testimony of Pasko {stating
                                                       that her job at Mattel included directing
             14                                        others since as a desi ner she would
                                                                                       as well as
            IS
                                                       be consulted on "rough costs,"} Pasko
            16                                         Tr., dated rune 13, 2007, at 50:21-52:21,
                                                       Zeller Dec., Exh. 16.
            i7
                                                       Preliminary designers like Bryant also
            I8                                         instructed  development          designers.
             I9                                        Tomiyama      Tr.     at        37:25-39:8
                                                        acknowled in     that
            20

            21
                                                       Zeller Dec., Exh. 15.
            22

            23                                         Pasko Tr. at 51:22-52:12 ex lainin

            24

            25                                                         She would do this by
            26                                         using the resources that she had by
                                                       consultin with and ivin direction to
            27
                                                                  Zeller Dec., Exh. 16 .
            7R


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o7znsrzaa^^as.io^                             MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                      II Material Fact                         I Disputed or Undisputed                        I
                  1

              2                                                    Bryant    directed,   reviewed,  and
                                                                   commented on the work of other Mattel
              3                                                    employees.     Bryant Tr. Vol. 5 at
                                                                   1093:14-1094:7 (commenting ^
              4

              5

              6
                                                                                                     ^eiier
              7                                                    Dec., Exh. 5; id. at 1094:8-1095:13
                                                                   (conf rming that he would give direction
              8
                                                                   and see whether his directions were
              9                                                    complied with}.

             i0                                                    Bryant had responsibilities with respect
                                                                   to vendors and was involved in
             11                                                    decisions as to which vendors to use.
             12                                                    Bryant ^Tr. Vol. 5 at 1091 :17-1093:12
                                                                   (Bryant confirmed he reviewed their
             13                                                    work, and made judgments concerning
                                                                   the adequacy or acceptability of their
             14                                                    work), Zeller Dec., Exh. 5.
             15
                                                                Bryant participated in brainstorms were
             16                                                 both designers and marketing personnel
                                                                would suggest ideas for new products.
             17                                                 Tomiyama Tr. at S 0:18-53 :22, Zeller
                                                                Dec., Exh. 15.
             18        31.   Bryant was assigned design Disputed
             19        projects by the supervisor of the design
                       team, with specific guidelines as to how Ex. 1 {Bryant Dep. 241:13-25) (Bryant's
             2a        he should implement that project.        job responsibilities at Mattel included
                                                                taking an assignment from his
             21                                                 supervisors and creating a design that he
             22
                                                                believed was responsive to those
                                                                instructions)
             23                                                    Ex. 19 {Hoffman-Briggs Depo. 55:16-
                                                                   56:4) (designers at Mattel are assigned
             24                                                    specific projects from management and
                                                                   given guidelines on how to execute the
             25
                                                                   project)
             26                                                    Ex. 19 {Hoffman^Briggs Depo. 54:23-
                                                                   55:12} (process far doll design at Mattel
             27                                                    entails    an      assignment       from
                                                                   management, the creation of a 2-D
             7R


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         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 28 of 71 Page ID
                                           #:45509


                   ^    Material Fact                              Dis uted or Undis uted
                                                                   design by a designer, and, if that design
                   ^                                               is approved, the creation of a 3-D.design
                                                                   by a pattern maker)
                   3
                   ^                                               Contrary Evidence:

                   ^                                               Yn the 1999-2000 time frame the goal of
                                                                   everyone else in the doll development
                   S                                               process was to be faithful to the vision
                                                                   of the preliminazy designer so that the
                   ^                                               final product would be faithful to the
                   ^                                               preliminary       designer's      vision.
                                                                   Tomiyama Tr. Vol. 1 at 46:9-21, Zeller
                   ^                                               Dec., Exh. 1S.

                   ^                                               Christine Tomiyama, a former Mattel
                                                                   employee who worked with Bryant
                   ^                                               when he was a preliminary designer in
                                                                   Barbie Collectibles, noted that he gave
                                                                   extremely detailed direction as to the
                   3                                               look of his dolls when she worked with
                                                                   him. Tomiyama Tr. VoI. 1 at 34:16-
                   ^                                               36:20, Zeller Dec., Exh. IS.

                   '                                               Tomiyama further testif ed that final
                                                                   products on which Bryant was the
                                                                   preliminary       designer - looked     as
                   ^                                               consistent with his initial vision as they
                   ^                                               could and still meet Mattel's cost
                                                                   requirements. Tomiyama Tr. Vol. 1 at
                   ^                                               4S :6-1 S, Zeller Dec., Exh. 1 S .

                                                              Bryant participated in brainstorms were
                                                              both designers and marketing personnel
                                                              would suggest ideas for new products.
                                                              Tomiyama Tr. at 50:18-53:22, Zeller
                                                              Dec., Exh. 1 S .
                   E    32.   Ms. Driskill and other managers Undisputed
                        had final approval over all ideas,
             2^ ^       developments and changes made to a Ex. 19 (Hoffman-Briggs Depo. SS:6-
                        doll.                                 S 8:14, 60: 14-16) {describing process of
             2:
                   '                                          doll development at Mattel, including
             2t                                               role of Ms. Driskill and other managers
                                                                   in supervising and approving of design
             2" '                                                  at various stages in its development)
                                                                   Ex. 3 B ant De .544:14-23; S4S:2-
             ^s

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                   07                                    MATTEIa'S STATEMENT OF GENUINE ISSUES RE BRYANT
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 29 of 71 Page ID
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                  Material Fact                             Dis uted or Undis uted
              1                                             21) {Mattel management would provide
             2                                               arameters of a deli n assi nment
                  33. Bryant was one of two or three Disputed
             3    dozen people who contributed to the
                  doll-making process in the design team Ex. 20 {Driskill Dep. 302:1-12)
             4    led by Ms. Driskill.
              5
                                                            Contrary Evidence:

             6                                              Bryant participated in brainstorms were
                                                            both designers and marketing personnel
              7                                             would suggest ideas for new products.
                                                            Tomiyama Tr. at 50:15-53:22, Zeller
              8
                                                            Dec., Exh. 15.
              9
                                                            In the 1999-2000 time frame the goal of
            10                                              everyone else in the doll development
                                                            process was to be faithful to the vision
            11                                              of the preliminary designer so that the
            12
                                                            final product would be faithful to the
                                                            preliminary      designer's       vision.
            13                                    •         Tomiyama Tr. Vol. 1, at 46:9-21, Zeller
                                                            Dec., Exh. 15.
             14
                                                            Christine Tomiyama, a former Mattel
             15
                                                            employee who worked with Bryant
             16                                             when he was a preliminary designer in
                                                            Barbie Collectibles, noted that he gave
             17                                             extremely detailed direction as to the
                                                            look of his dolls when she worked with
             18                                             him. Tomiyama Tr. Vol. 1 at 34:16-
             19
                                                            36:20, Zeller Dec., Exh. I5.

            20                                              Tomiyama further testified that final
                                                            products on which Bryant was the
            21                                              preliminary    designer       looked     as
                                                            consistent with his initial vision as they
            22
                                                            could and still meet Mattel's cost
            23                                              requirements.      Tomiyama Tr. Vol. 1 at
                                                                45:6-15, Zeller Dec., Exh. 15.
            24
                                                            Bryant's role at Mattel included
            25                                              directing other employees. Tomiyama
            26                                              testified that his job duties at Mattel
                                                            included instructing people on what to
             27                                             do e.g., hair, face, and fashion details for
                                                            dolls, Tomi ama Tr. Vol. 1 at 34:19-
             7R

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                                          #:45511


                    Material Fact                   Dis uted or Undis uted
              I
                                                    36:20 conf rmin that B ant
              2

              3                                                                          and that
                                                    he
              4                                                    Zeller Dec., Exh. 15.
              5
                                                    Mattel designer Rene Pasko stated that
              6                                     her job at Mattel included directing
                                                    others since as a desi ner she would
              7                                                                    as well as
                                                    be consulted on                    Pasko
              8
                                                    Tr. at 50:21-52:21, Zeller Dec., Exh. 16
              9
                                                    Preliminary designers like Bryant also
             10                                     instructed   development    designers.
                                                    Tomiyama Tr. Vol. 1 at 37:25-39:8
             11                                      acknowled in     that
             12

             13
                                                    Zeller Dec., Exh. 15.
             14
                                                    Pasko Tr. at 51:22-52:12 ex lainin
             IS
                                                    that
             16

             17                                                        She would do this by
                                                       using the resources that she had by
             I8                                        consultin with and ivin direction to
             I9
                                                                 Zeller Dec., Exh. 16.
            20
                                                       Bryant    directed,   reviewed,  and
            21                                         commented on the work of other Mattel
                                                       employees.     Bryant Tr. Vol. S at
            22
                                                       1093 :14-1094:7 commentin
            23

            24

            25                                                                        Zeller
            26                                         Dec., Exh. 5; Bryant Tr. Vol. 5 at
                                                       1094:8-1095:13 (confirming that he
            27                                         would give direction and see whether
                                                       his directions were com lied with ,
            '] R


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                         '                    MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                    Material Fact                               Dis uted or Undrs uted
              1
                                                                Zeller Dec., Exh. 5.
              2
                                                             Bryant had responsibilities with respect
              3                                              to vendors and was involved in
                                                             decisions as to which vendors to use.
              4                                              Bryant Tr. Vol. 5 at 1091:17-1093:12
              5
                                                             {Bryant confirmed he reviewed their
                                                             work, and made judgments concerning
              6                                              the adequacy or acceptability of their
                                                             work), Zeller Dec., Exh. 5.
              7
                                                                Evidentiary Qbiections
              8

              9                                              Objection to the supporting deposition
                                                             transcript of Ann Driskill at 302:1-12 on
             10                                              the grounds that it is an incomplete
                                                             exce t. Fed. R. Evid. 106.
             11     34. Bryant was not an officer or Undisputed
             12     director of Mattel.
                                                             Ex. 13 Sim son-Ta for De .299:9-13
             13     35.    While Bryant did provide creative Disputed
                    input to others on his design team, he
             14     did not manage them.                     Ex. 19 {Hoffman Briggs Dep. 64:23-
                                                             65:15) {describing how pattern maker
             15
                                                             and doll designer would work together
             16                                              to translate two-dimensional drawing of
                                                             fashion to three-dimensional doll
             17                                              fashion)
                                                             Ex. 3 (Bryant Dep. 545:22-546:19)
             18
                                                             (Bryant would work with model maker
             19                                              to determine how to make a design
                                                             workable}
            20                                               Ex.    5    {Bryant Dep.       1094:1-17)
                                                             (explaining that, while Bryant did not
            21                                               supervise other employees, he did work
            22                                               together with other employees and share
                                                             his ideas and comments with them)
            23
                                                                Contrary Evidence:
            24
                                                                In the 1999-2000 time frame the goal of
            25
                                                                everyone else in the doll development
            26                                                  process was to be faithful to the vision
                                                                of the preliminary designer so that the
            27                                                  f nal product would be faithful to the
                                                                 relimina        desi ner's       vision.
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                                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                    Material Fact                       Dis uted or Undis uted
              1
                                                        Tomiyama Tr. at 46:9-21, Zeller Dec.,
             2                                          Exh. 15.
              3                                         Christine Tomiyama, a former Mattel
                                                        employee who worked with Bryant
             4                                          when he was a preliminary designer in
              5
                                                        Barbie Collectibles, noted that he gave
                                                        extremely detailed direction as to the
              6                                         look of his dolls when she worked with
                                                        him. Tomiyama Tr. at 34:16-36:20,
              7                                         Zeller Dec., Exh. 15.
              S
                                                        Tomiyama further testified that final
              9                                         products on which Bryant was the
                                                        preliminary     designer     looked     as
            10                                          consistent with his initial vision as they
                                                        could and still meet Mattel's cost
            11                                          requirements. Tomiyama Tr. at 45:6-
            12                                          15, Zeller Dec., Exh. 1S.

            13                                          Bryant's role at Mattel included
                                                        directing other employees. Tomiyama
            14                                          testified that his job duties at Mattel
                                                        included instructing people on what to
            15
                                                        do e.g., hair, face, and fashion details for
            16                                          dolls, Tomiyama Tr. at 34:19-36:20
                                                         confirmin that B ant
            17

            18                                                                             and that
            19                                          he
                                                                      Zeller Dec., Exh. 15.
            20
                                                        Mattel designer Rene Pasko stated that
            21                                          her job at Mattel included directing
                                                        others since as a deli ner she would
            22
                                                                                        as well as
            23                                          be consulted on                     Pasko
                                                        Tr. at 50:21-52:21, Zeller Dec., Exh. 16.
            24
                                                        Preliminary designers like Bryant also
            25                                          instructed   development     designers.
            26                                          Tomiyama Tr. Vol. 1 at 37:25-39:8
                                                         acknowled in     that
            27

            ?R

                                                   31
p720912^7783.1( 7        ^                    MATTEL'S STATEMENT OF GENUINE CSSUES RE BRYANT
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                                           #:45514


                1     Material Fact                                Dis uted or Undis uted

                2                                                  Zeller Dec., Exh. 15.

                3                                                  Pasko Tr. at 51:22-52:12        ex lainin
                ^                                                  that

                S
                                                                                      She would do this by
                b                                                  using the resources that she had by
                                                                   consultin with and ivin direction to
                7
                                                                                Zeller Dec., Exh, 16.
                S
                g                                                  Bryant  directed,   reviewed,    and
                                                                   commented on the work of other Mattel
              10                                                   employees.       Bryant Tr.    Vol.   5   at
                                                                   1093 :14-1094:7 commenten that
              11

              12
              13
                                                                                                     Zeller
              14                                                   Dec., Exh. 5; id. at 1094:8-1095 :13
              t5                                                   {confirming that he would give direction
                                                                   and see whether his directions were
              16                                                   com lied with .
                      36.       There is no evidence that Bryant   Disputed
              1^      disciplined other employees, wrote
                      performance       reviews   of     other Ex. 13 {Simpson-Taylor Dep. 300:3-14)
              18      employees, hired of fred employees, set (Mattel 30(b){6} designee "not aware"
              1g      salaries or determined promotions.       of Bryant being "involved in a hiring
                                                               process" at Mattel)
              20                                               Ex. 13 (Simpson-Taylor Dep. 305:17-
                                                               21) (Bryant did not write performance
              21                                               reviews for other Mattel employees)
              22
                                                                   Evidentiary Objections
              23
                                                            Objection to the supporting deposition
              24                                            transcript of Kathleen Simpson-Taylor
              25                                            at 300:3-14 and 305:17-21 on the
                                                            grounds that these are incomplete
              26                                            exce ts. Fed. R. Evid. I06.
                      No Number:         During Bryant's Disputed
              27      employment at Mattel, Mattel did not
                      assert ownershi ri hts to em to ees ' B ant cites no evidence to su ort this
              ^R


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                    ^                                      MATTEL >S STATEMENT OF GENUINE ISSUES^^^tE BRYANT
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                    Material Fact                                  Dis uted ar Undis uted
              1
                    moonli ht or ersonal ortfolio work             im ro er headin .
              2     37.   While Bryant was at Mattel, other        Disputed
                    Mattel employees did non-Mattel work
              3     on their own time, both independently          Ex. 21 (Cloonan Dep. 100:21-107:2
                    and with other businesses, including            Mattel em to ees would
              4     M atte l compet i tors.
              5                                                           and that -this was
                                                                                in the Mattel       Design
              6                                                    Center)
                                                                   Ex. 21 (Cloonan Dep. 304:20-305:16)
              7                                                    (describing Mattel employee who
                                                                   worked for Mattel and its competitors,
              8
                                                                   as a vendor)
              9                                                    Ex. 22 (Leahy Dep. 179:14-191:12)
                                                                   (describing that it was a common
            10                                                     practice for Mattel employees to take on
                                                                   additional work outside of Mattel,
            11                                                     including for vendors)
            12
                                                                   Contrary evidence:
            13
                                                                   Cloonan was not aware of any Mattel
            14                                                     employee    doing     work    for   its
                                                                   competitors. Deposition Transcript of
            15
                                                                   Elise Cloonan Vol. 1 ("Cloonan Tr. Vol.
            16                                                     1 "), dated December 14, 2007 at
                                                                   100:12-18
            17

            18

            19
                                                                                                    Zeller
            2a                                                     Dec., Exh. 17. fee also id. at 106:22-
                                                                   107:2, Zeller Dec., Exh. 17.
            21
                                                                   Margaret Hatch Leahy admitted to
            22
                                                                   doing work for a Mattel vendor while
            23                                                     she was employed by Mattel, but she
                                                                   also acknowledged that it was in
            24                                                     violation of her employment agreement
                                                                   and that she did not talk about her side
            25                                                     work with senior executives. Deposition
            26
                                                                   Transcript of Margaret Leahy {"Leahy
                                                                   Tr."), dated December 12, 2007, at
            27                                                     186:23-187:21, Zeller Dec., Exh. 1$.
            ^R

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                                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                     Material Fact                           Dis uted or Undis uted
                 1
                                                             Evidentiary Objections
             2
                                                             Objection to the supporting deposition
                 3                                           transcript of Elise Cloonan at 100:21-
                                                             107:2 on the grounds that the statement
             4                                               lacks    foundation      and     personal
                 5
                                                             knowledge, is irrelevant, speculative, an
                                                             incomplete excerpt, and constitutes
                 6                                           inadmissible hearsay. Fed. R. Evid.
                                                             104, 106, 602, 801, 802.
                 7
                                                            Objection to the supporting deposition
                 8
                                                            transcript of Margaret Hatch-Leahy at
                 9                                          179:14-188:14 on the grounds that the
                                                            statement     lacks    foundation,     is
            10                                              speculative and constitutes inadmissible
                                                            hearsay. Fed. R. Evid. i04, 602, 801,
            11                                              802.
            12       38.   It was                        at Disputed
                     Mattel that Mattel employees did non-
            13       Mattel work on their own time.         Ex. 23 Marlow De 47:8-49:23) {it
                                                            was                           that Mattel
            14                                              employees took on additional work
                                                            outside of Mattel)
            15
                                                            Ex. 22 (Leahy Dep. 179:14-191:12
            16                                               describin that em to ees at Mattel

             17

             18                                              Contrary evidence:
             19
                                                             Margaret Hatch Leahy admitted to
            20                                               doing work for a Mattel vendor while
                                                             she was employed by Mattel, but she
            21                                               also acknowledged that it was in
                                                             violation of her employment agreement
            22
                                                             and that she did not talk about her side
            23                                               work with senior executives. Leahy Tr.
                                                             Vol. 1 at 186:23-187:21, Zeller Dec.,
            24                                               Exh. 18.
            25                                               The remainin witnesses who testified
            2G                                               that it was                 ^^ that
                                                             Mattel employees took on additional
            2'^                                              work outside of Mattel could not name
                                                             an exam les of em to ees actuall
            7R

                                                            34
D72U912447783.                                         MATTEL'S STATEMENT
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 36 of 71 Page ID
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                    Material Fact                              Dis uted or Undis uted
              I
                                                               working for competitors. See Marlow
              2                                                Tr. at 47:8-49:23, Anderson Dec., Exh.
                                                               23; see also Cloonan Tr. at lOS:23-
              3                                                106:22, Zeller Dec., Exh. 17; Bryant Tr.
                                                               Vol. 4 at 866:21-870:12.
              4

              5                                                Evidentiary 4biections

              6                                                Objection to the supporting deposition
                                                               transcript of Veronica Marlow at 48:7-
              7                                                49:23 on the grounds that the statement
                                                               lacks foundation, is speculative and
              S
                                                               constitutes inadmissible hearsay. Fed.
              9                                                R. Evid. I04, 602, 801, 802.

             10                                           Objection to the supporting deposition
                                                          transcript of Leahy at 179:14-11:14 on
             11                                           the grounds that the statement lacks
             12                                           foundation and personal knowledge, is
                                                          speculative and constitutes inadmissible
             13                                           hearsay. Fed. R. Evid. 104, 602, 801,
                                                          802.
             I4     39.    Mattel employees believed that Disputed
             15
                    Mattel did not own work they did on
                    their own time, outside of Mattel.    Ex. 23 (Marlow dep. 58:7-59:I I)
             16                                           {former Mattel employee explaining that
                                                          she understood that ideas she came up
             I7                                           outside of her work at Mattel did not
                                                          belong to Mattel)
             18                                           Ex. 24 {De Anda dep. of 12119/2007,
             19                                           160: 16- 162: 14) (Mattel head of security
                                                          explains that work he does for non-
            20                                            Mattel entities at home or on weekends
                                                          is done on his own time, not on Mattel's
            21                                                 time}
            22
                                                               Ex. 25 (Ongchangco Dep. 250:7-22.}
                                                               (Mattel staff designer explains that
            23                                                 when he draws something at home, not
                                                               related to his work at Mattel, he does
            24                                                 not show it to Mattel)
            25
                                                               Evidence cited does not support the
            26                                                 stated proposition:

            27                                                 Neither De Anda's nor Ongchangco's
                                                               testimon was about work related to
            7R

                                                          35
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                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
         Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 37 of 71 Page ID
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                    Material Fact                       Dis uted or Undis uted
               1
                                                        Mattel's work, De Anda Tr. at 160:16-
               2                                        162:14, Anderson Dec., Exh. 24;
                                                        Ongchangco Tr. at 250:7-22, Anderson
               3                                        Dec., Exh. 25.
              4                                         Contrary Evidence:
               5
                                                     Bryant himself knew that work outside
               6                                     of Mattel was owned by Mattel. Zn
                                                     1998, while Bryant was employed by
               7                                     Mattel, he discussed with his mother the
                                                     fact that he could not sell sketches on
               8
                                                     the side because it would
               9                                                                   Deposition
                                                     Transcript of Janet Bryant, Vol. 1 ("J.
             1a                                         Bryant Vol, 1 "), dated September 25,
                                                        2007 at 83:20-86:22, Zeller Dec., Exh.
             11                                         20.
             12
                                                        Elise Cloonan knew that work outside
             13                                         of Mattel was owned by Mattel.
                                                        Cloonan Tr. Vol. 1 at 131:8-23 (noting a
             1^                                         conversation in November 2002 that she
                                                        had with B ant in which
             15

             16

             17                                                     Zeller Dec., Exh. 17.
             18                                         Cloonan testified that she was aware
             19                                         that

             20                                                   Cloonan Tr. Vol. 1 at 99:4-
                                                        100:10, Zeller Dec., Exh. 17.
             21

             22
                                                        Margaret Leahy testif ed that she knew
                                                        moonlighting for other competitors was
             23                                         inconsistent with her Mattel agreement.
                                                        Further, she did not disclose her
             24                                         activities to senior executives. Leahy
                                                        Tr. Vol. 1 at 186:23-187:21, Zeller Dec.,
             25
                                                        Exh. 18.
             26
                                                        Christine Tomiyama testified that
             27                                         Mattel employees were aware that they
                                                        did not own ro' ects the did on their
             ^R


                                                   36
0720912447783.10'
                         '                     MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                    Material Fact                                Dis uted or Undis uted
              1
                                                                 own time. Tomi ama Tr. at 149:6-9
              2

              3

              4                                                         Zeller Dec., Exh. 15.
              S
                                                              Ann Driskill testified that she was aware
              6                                               that Mattel owns inventions that she
                                                              creates or invents as a designer at Mattel
              7                                               irrespective of whether it is created at
                                                              home or at work. Deposition Transcript
              8
                                                              of Ann Driskill ("Driskill Tr. Vol. 1 "}
              9                                               dated December 15, 2004, at 34:1-25

             10
                                                                                            Zeller Dec.,
             11                                                  Exh. 19.
             12
                                                                 Evidentiary Objections
             13
                                                              Objection to the supporting deposition
             14                                               transcript of Veronica Marlow at 5$:7-
                                                              59:1 i on the grounds that the statement
             15
                                                              is irrelevant and confusing and
             16                                               constitutes improper opinion by lay
                                                              witness. Fed. R. Evid. 402, 403, 701.
             17
                                                                 Objection to the supporting deposition
             18                                                  transcript of Richard De Anda at
             19                                                  160:16-162:14 on the grounds that the
                                                                 statement is irrelevant and confusing
            20                                                   and constitutes improper opinion by lay
                                                                 witness. Fed. R. Evid. 402, 403, 701.
            21
                                                               Objection to the supporting deposition
            22
                                                               transcript of Kislap Ongchangco at
            23                                                 250:8-22 on the grounds that the
                                                               statement is irrelevant and confusing
            24                                                 and constitutes improper opinion by lay
                                                               witness. Fed. R. Evid. 402, 403, 701.
            25
                    No Number: No evidence suggests that Disputed
            26      Mattel established any routines or
                    processes to identify, investigate, punish Bryant cites no evidence to support this
            27      or revent "moonli htin "work.              im ro er headin .
                    40.   Mar aret Leah 's su ervisor, Dis uted
            7R

                                                            37
o72as^24a^7sa.io^                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 39 of 71 Page ID
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                     Material Fact                      Dis uted or Undis uted
               1
                     Michael Hebden, helped her to f nd
               2     freelance work outside Mattel by Ex, 22 (Leahy dep. 183:22-185:6}
                     suggesting that she contact Mattel
               3     vendors.                                  The evidence cited does not support
                                                               the stated proposition.
               4

               5                                               Contrary evidence:

               6                                               Margaret      Hatch   Leahy admitted to
                                                               doing work for a Mattel vendor while
               7                                               she was employed by Mattel, but she
                                                               also acknowledged that it was in
               8
                        •                                      violation of her employment agreement
               9                                               and that she did not talk about her side
                                                               work with senior executives. Leahy Tr.
             10                                                Vol. 1 at 186:23-187:21, Zeller Dec.,
                                                               Exh. 18.
             11

             12                                                Evidentiary Objections

             13                                                Objection to the supporting deposition
                                                               transcript of Margaret Hatch-Leahy at
             14                                                183 :22-185:6 on the grounds that the
                                                               statement is irrelevant and confusing, an
             15
                                                               incomplete excerpt and inadmissible
             16                                                hearsay. Fed. R. Evid. 402, 403, 106,
                                                               801, 802.
             17
                     41. Mattel's head of security, Richard Disputed
             18
                     De Anda, could not remember any
             19      specific   instance   in   which     has Ex. 24 (De Anda dep. 157:20-25}
                     department investigated allegations of
             2a      moonlighting.                                 Contrary evidence:

             21                                                    After De Anda was deposed, his
                                                                   department investigated allegations of
             22
                                                                   moonlighting by Ana Isabel Cabrera,
             23                                                    Beatrice Morales and Maria Salazar
                                                                   after the deposition of Veronica Marlow
             24                                                    on December 2$, 2007, where she first
                                                                   revealed that they had worked for a
             25                                                    competitor while employed by Mattel.
             26                                                    Witness Interview of Isabel Ana
                                                                   Cabrera, dated January 2, 2008 at 1:1-
             27                                                    4:3, Zeller Dec., Exh. 103; see also
                                                                   Witness Interview of Beatriz Morales,
             7R

                                                              38
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                            •                           MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
        Case 2:04-cv-09049-DOC-RNB Document 2823-2 Filed 03/26/08 Page 40 of 71 Page ID
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                    Material Fact                           Dis uted or Undis uted
              1
                                                            dated January 14, 2008 at 1:1-4:1, Zeller
              2                                             Dec., Exh. 104. Marlow testified that
                                                            all three had performed Bratz work
              3                                             during their employment, at Mattel.
                                                            Marlow Tr. at 286:23-290:13 {regarding
              4                                             Cabrera),    306:14-308:1      {regarding
              5                                             Morales),    363:15-364:9      (regarding
                                                            Salazar ,Zeller Dec., Exh. 21.
              6     42. Mattel's head of             at the Undisputed
                    time, did not know
              7     about moonli htin at Mattel.                  Ex. 26 Fontanella de .52:2-8
              8
                    No Number: Mattel did not provide             Disputed
                    Bryant with any payment or other
              9     consideration for signing Mattel's            Bryant cites no evidence to support this
                    "Pro rieta Information Checkout."             im ro er headin .
             la     43.   Immediately before Bryant left          Undisputed
                    Mattel in October 2000, Mattel asked
             11
                    him to participate in an exit interview Ex. 11 {Freed dep. 42:24-43:21 }
             12     conducted b Sand Yonemoto.
                    44.   During the exit interview, Bryant Undisputed
             13     signed      Mattel's        "Proprietary
                    Information   Checkout" {"Checkout Ex. 27 (M 0001604 -Mattel Proprietary
             14     Form" .                                  Information Checkout si ned b B ant
             15     45.   There is no evidence that Mattel        Disputed
                    provided Bryant with a copy of the _
             16     Employee Agreement when he signed There is no evidence that Mattel did not
                    the Checkout Form.                   provide Bryant with a copy of the
             17                                          Inventions Agreement when he signed
                                                                  the Checkout Form.
             18
                    46.   Mattel admits that it did not give Undisputed
             19     Bryant any additional money for signing
                    the Checkout Form.                       Ex. 12 (Mattel's Responses to MGA's
            20                                                    Fifth Set of Re s. for Admis. , No 39.
                    47.   Mattel's 30{b)(6) representative Disputed
            21
                    did not identify the Checkout Form as
            22      among Bryant's contracts with Mattel.  Ex. 11 {Freed Dep. 31:4-7; 42:17-21)

            23                                                    The evidence cited does not support
                                                                  the stated proposition:
            24

            25                                                    Freed was asked what contracts Bryant
                                                                  signed when he was hired in 1995 and
            26                                                    rehired in 1999, not what contracts he
                                                                  signed when he left in 1998 and again in
            27                                                    2000. See Freed Tr. at 31:4-7; 42:17-
            7R
                                                                  21, Anderson Dec., Exh. 11.


                                                             39
a7zos^zaa^^as.^o^         '                           MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                   Material Fact                                Dis uted or Undis uted
               1

              2                                                 Contrary evidence:

              3                                          Mattel's Responses to MGA's Fifth Set
                                                         of Requests for Admission at Response
              4                                          No. 40, Anderson Dec., Exh. 12.
              S    No Number:       Mattel substantially Disputed
                   expanded the scope of the Employee
              6    Agreement in March 2004.2             Bryant cites no evidence to support this
                                                         im ro er headin .
              7    48.  In 2004, Mattel had all existing Disputed
                   employees execute a revised Employee
               S
                   Agreement      ("2004       Employee Ex. 31 {M 0079346-M 0079350 - 2004
               9   Agreement").                          version     of     Mattel     Employee
                                                         Confidentiality     and       Inventions
             la                                          Agreement)
                                                         Ex. 11 {Freed Dep. 55:21-56:8).
             11

             12                                                 Evidentiary Objections

             13                                         Objection to the supporting deposition
                                                        transcript of Lissa S. Freed at 55:21-
             14                                         56:8 on the grounds that the statement is
                                                        irrelevant and confusing. Fed. R. Evid.
             15
                                                        402, 403.
             16    49.   The  2004   Employee Agreement Disputed
                   was     substantially  rewritten and
             17    expanded in scope from the version Ex. 31 (2004 version of Mattel
                   signed by Bryant.                    Employee        Conf dentiality      and
             18                                         Inventions Agreement)
             19                                         Ex. 8 {M 001596 -- Employee
                                                        Agreement signed by Bryant}
             20
                                                                Evidentia      Objections
             21
                                                            Objection to the Exhibit 31 to the
             22
                                                            supporting declaration of Christa
             23                                             Anderson on the grounds that this
                                                            document is irrelevant and confusing.
             24                                             Fed. R. Evid. 402, 403.
                   No Number:      Mattel seeks to inte ret Undis uted
             25
             26    z Bryant does not believe that the following facts (SUF ¶¶ 50-52) are material to
                   resolution of his motion for partial summary judgment. These facts are included in this
             27    statement to comport with the Court's requirement that no factual evidence be cited
             7R
                   directly within the brief.


                                                              4a
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                 1   Material Fact                        Dis uteri or Undis uteri
                     the term               in the 1999
                 2   Em to ee A reement ve broad! .3
                     50. Mattel's former President of its Undisputed
                 3   Girls Division, Adrienne Fontanella,
                 ^   testif ed                            Ex. 26 {Fontanella Dep. 32:9-11)

                 5

                 6

                 7   51. Mattel executive described her Undisputed
                 8   own              at Mattel as including
                     a    worldwide     licensing     model; Ex. 2b (Fontanella Dep. 33:2-39:24)
                 g   advertisin to os; brandin messages;
                                    and                  the
             1^      Polly Pocket doll; a                  to
                     expand the Girls business be and
             11
                     Barbie; and even
             12
                     52.     Senior-Vice President responsible Undisputed
             13      for Mattel's Desi n Center in 1999
                     testified that                            Ex. 28 {Ross Dep. 7b:23-77:12}
             14
             15

             16
             17

             18
             19
            20
            21
            22       Additional Material Facts                        Evidentia Su ort
            23       53.    Bryant testified that he got the          Deposition Transcript of Carter Bryant
                     inspiration for Bratz in late August 1998        Vol 1 ("Bryant Tr. Vol. 1), November 4,
            24       when he was driving by Kickapoo High             204 at 140:9-142:13, Zeller Dec., Exh.l.
                     School either to or from work at an Old
            25       Na at Battlefield Mall. The kids were
            26
            27
            ?R


                                                                 41
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             2    ^ He testified that he also was
                  influenced by a Paris Blues ad, a Steve
                  Madden ad and an ad for a Dixie Chicks
                  album in Seventeen Magazine.)        _ _
             4    54. Bryant has given inconsistent According to Bryant, he only worked as
                  testimony as to whether he worked as a a freelance artist for Ashton Drake
                  freelance artist in 1998.                galleries in 1998. Bryant Tr. Vol. 1 at
             6                                             143 :12-16 {clarifying that althou h he
                                                           desi ned reetin cards,
             7
             S
             9                                            Cf. Bryant denies doing anything in the
                                                          design field at this time . Deposition of
            10                                            Carter    Bryant      in    Gunther-Wahl
                                                          Productions, Inc. v. Mattel , Inc., dated
            11                                            September 9, 2003 , at 89 :23-90 .'7, Zeller
                                                          Dec., Exh. 6.
            12
                  55.   Bryant convinced Sheila Kyaw to Deposition Transcript of Sheila Kyaw,
            13    paint a Bratz doll's head in the Mattel Vol. I, ("Kyaw Transcript Vol. 1 "},
                  Design Center.                          January 24, 2008 at 299:22-301:3,
            14                                            Corey Dec., Exh. 8.
            15
                  56. Mattel's offer letter to Bryant The December 9, 1998 offer letter from
            16    reflects an intention to enter into a Mattel to Bryant reflects an intention to
                  confidential relationship.            enter into a confidential relationship.
            1'7                                         Mattel's Vice President of Human
                                                        Resources states
            18

            19

            20

            2I
                                                           Mattel 1998 Offer letter (emphasis
            22
                                                           added}, Bates--numbered M 00016134,
            23                                             Zeller Dec., Exh. 11.
                  57.    Mattel  employees   can negotiate Mattel employee Alan Kaye testified
            24    the terms of their Inventions Agreement employees had refused to sign the
                  and have done so, including at least one inventions agreement             and that
            25
                  witness deposed in this case.            there     were
            26                                                                                 Kaye
                                                           Tr., Dec. 10, 2004, at 215:3-216:23,
            27                                             Zeller Dec., Exh. 65; see also Fontanella
                                                           Tr., Jan. 16, 2008, at 26:11-28:3.
            7R

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              1                                           Robert Hudnut made changes to Mattel's
              2                                           Employee Confidential Information and
                                                          Inventions Agreement, as well as the
              3                                           Conflict of Interest Questionnaire.
                                                          Hudnut Agreement, Bates-numbered M
              4                                           0098318-9, on which he writes
              5
                                                                                    Zeller Dec.,
              6                                           Exh. 7; Hudnut" s side letter, Bates-
                                                          numbered M 0098320-1, Zeller Dec.,
              7                                           Exh. 8; Hudnut's Questionnaire, Bates-
                                                          numbered M 0098322-3, on which he
              8                                           he writes
              9
                                                                 Zeiler Dec., Exh. 9; Hudnut
            10                                      Tr. at 209:14-211:1 S, 216:25-220:3,
                                                    Zeller Dec., Exh. 10.
            11    SS.  In the Inventions Agreement, The opening paragraph of the agreement
            12    B ants ecificall acknowled ed:

             13
             14
                                                                            employment
             1S
                                                          company ends.
             16
                                                          Further
             17

             18

             19

            20

            21
            22

            23
                                                                            Inventions Agreement
            24                                             {emphasis added), Proctor Dec., Exh. 5.
                  S9.    Bryant received the Inventions Mattel new hires are mailed a packet
            25
                  Agreement in the mail prior to his first before they arrive for orientation that
            26    day at Mattel.                           includes both their Mattel Conflict of
                                                           Interest Questionnaire and Inventions
            27                                             Agreement. See Freed Tr. at 37:7-18,
                                                           Zeller Dec., Exh. S7.
            ^R

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alzasrzaa^^ea.^                                                        Ur
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                         bu.   As a pre^iminary designer in Bryant's role at Mattel included
                         Barbie Collectibles, Bryant exercised directing other employees. Tomiyama
                    2    discretion in desi n, su ervised others testif ed that his job duties at Mattel
                         and                                     included instructing people on what to
                    3                                               do e.g., hair, face, and fashion details for
                                                                    dolls, Tomiyama Tr. at 34:19-36:20
                    4

                    S

                    6

                    7

                    8
                                                                    Mattel Designer Renee Pasko stated that
                    9                                               her job at Mattel included directing
                                                                    others since as a desi er she would
                  10                                                                                as well as
                                                                    be consulted on                     Pasko
                  11                                                Tr. at 50:21-52:21, Zeller Dec., Exh. 16
                  12
                                                                    Preliminary designers like Bryant also
                  13                                                instructed   development     designers.
                                                                    Tomiyama      Tr.     at    37:25-39:8
                  14                                                 acknowled in     that
                  15

                  16
                                                                    Zeller Dec., Exh. 15.
                  17
                                                                    Pasko Tr. at 51:22-52:12 ex lainin
                  18                                                that
                  19
                  20                                                                 She would do this by
                                                                    using the resources that she had by
                 21                                                 consulting with and ^ivina direction to
                 22
                                                                               Zeller Dec., Exh.16 .
                 23
                                                                    Bryant    directed,   reviewed,    and
                 24                                                 commented on the work of other Mattel
                                                                    employees.     Bryant Tr. Vol. S at
                 25                                                 1093 :14-1094:7 f commentinr^ that ^
                 26

                 27

                 7R


                                                               44
0 72 0 912447 78 3.1 C
                                                                        ATEMENT OF
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                                                                                                    Zeller
                                                                 Dec., Exh. S; id. at 1094:8-1095:13
                  2                                              (confirming that he would give direction
                                                                 and see whether his directions were
                  3                                              complied with).                       _
                      61.   Bryant and the MGA witnesses         See Mattel , Inc.'s Statement of Genuine
                  4
                      dispute among themselves exactly when      Issues    Regarding      MGA Parties'
                  5   Bryant pitched Bratz to MGA, but the       [Proposed] Separate Statement of
                      pitch occurred no later than September     Undisputed Statements of Fact and
                  6   2000.                                      Conclusions of Law at Additional
                                                                 Material Fact "AMF" 81.
                  7   6^ant admitted creating a Bratz            Bryant Tr. Vol. 3 at 666:5-667:9, Corey
                                 or model using Mattel           Dec., Exh. 3; Bryant Tr. Vol. 1 at
                  8
                      resources and that he paid at least one    166:10-170:15         (describing    his
                  9   Mattel employee for her work on Bratz.     recruitment of two Mattel employees to
                                                                 make his                Core Dec., Exh.
              10                                                 1; id. at 165 :6-8
             11

             12                                                  - Deposition Transcript of Carter
                                                                 Bryant, Vol. 4 ("Bryant Tr. Val. 4"},
             13                                                  dated January 23, 2008, at 817:8-19
                                                                 (where Bryant admits paying Sheila
             14 .                                                Kyaw for her work on the dummy),
             15                                                  Carey Dec., Exh. 4; see also Kyaw Tr.
                                                                 at 169:23-170:21, 173:24-176:8, 251:3-
             16                                                  4, 2S 1:24-252:1, Core Dec., Exh. 8.
                      63. Bryant had told the two Mattel         Bryant Tr. Vol. 1 at 169:18-170: I 0
             17       em to ees who worked on his
                                  that their work was for a
             18
                      personal project.
             19                                                        Zeller Dec., Exh, 1.     _
                      64. Bryant created Bratz designs that Bratz designs with March and April
             2a       bore March and April 2000 fax header 2000 fax headers, Bates-numbered
                      dates -- six to seven months before his KMW-M 01647-8, MGA HK 0001928,
             21       Iast day at Mattel.                     MGA HK 0001935, KMW-M 007726,
             22                                               KMW-M 007729, KMW-M 007734 &
                                                              BRYANT 00167, Proctor Dec., Exh. 8;
             23                                               see also Bryant Tr. Vol. 2 at 317:17-23,
                                                              Core Dec., Exh. 2.
             24       65.    Before even signing the Bryant- Bryant Tr. Vol. 1 at 71:10-76:21,
             25
                      MGA Agreement, Bryant met with the 107:19-110:11, Zeller Dec., Exh. 1;
                      sculptor of the Bratz doll, Margaret Bryant Tr. Vol. 2 at 341:1$-342:11
            26        Leahy, and gave her direction regarding (testifying about the drawing he gave to
                      the look of the doll.                   Margaret Leahy while he was still at
            27                                                   Mattel for her to begin her sculpting
            7R
                                                                 work on Bratz), Corey Dec.. Exh. 2.


                                                            45
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              1     66.   B ant acknowled ed that he Bryant Tr. Vol. 1 at 133:9-15, Corey
                                                       Dec., Exh. 1; see also id. at 135:25-
             2                                         136: i



             4      67. Bryant placed dozens of phone M 0001820-24 (Mattel phone records
             5
                    calls to MGA from his extension at showing that Bryant called MGA's main
                    Mattel.                                     line on 9111100, 9112100, 9113/00,
             6                                                  9114100, 9115/00, 9118100, 9119/00,
                                                                9120100, 9121100, 9125100, 9126100, and
             7                                                  9/27100, and that he called Isaac Larian
                                                                on 9/27/00), attached as Exhibit 1 to the
             8
                                                                Declaration of Rodney Palmer, Jr.
             9                                                  ("Palmer Dec."}, dated March 6, 2008.
                    68. Bryant         admitted      creating   Bryant admitted creating drawings of
            la      drawings of the Bratz characters the Bratz characters wearing evening
                    wearing evening fashion designs in or fashion designs in or about July 2000.
            lI                                                  See       Drawing       Bates-numbered
                    about July 2000.
            12                                                  BRYANT 00273 and a photograph of
                                                                BRYANT 00273 marked as Exhibit 717
            13                                                  in this action, Zeller Dec., Exh. 24;
                                                                Bryant Tr. Vol. 2 at 340:21-23, Corey
            14                                                  Dec., Exh. 2; BRYANT 00228 and a
                                                                photograph of BRYANT 00228 marked
            15
                                                                as Exhibit 719 in this action, Zeller
            16                                                  Dec., Exh. 25; Bryant Tr. Vol. 2 at
                                                                301:25-302:3, Corey Dec., Exh. 2;
            17                                                  BRYANT 00221 and a photograph of
                                                                BRYANT 00221 marked as Exhibit 722
            I8                                                  in this action, Zeller Dec., Exh. 26;
            19                                                  Bryant Tr. Vol. 2 at 340:2-4, Corey
                                                                Dec., Exh. 2; BRYANT 00297 and a
            20                                                  photograph of BRYANT 00297 marked
                                                                as Exhibit 725 in this action, Zeller
            21                                                  Dec., Exh. 27; Bryant Tr. Vol. 2 at
                                                                358:2-358:4, Corey Dec., Exh. 2; see
            22
                                                                also Bryant Tr. Vol. 1 at 229:14-230:5,
            23                                                  Corey Dec., Exh. 1; Bryant Tr. Vol. 2 at
                                                                302:4-19, Corey Dec., Exh. 2; Bryant's
            24                                                  Responses to Mattel, Int.'s Third Set of
                                                                Requests for Admission Propounded to
            2S                                                  All Defendants at Response Nos. 9--12;
            26                                                  Proctor Dec., Exh. 88.
                    69.    Bryant testif      gat ne Grew a Bryant Tr. Vol. 2 at 350:16-25, Corey
            27      key sculptural dray       to ive to the Dec., Exh. 2; sculptural drawing Bates-
                    scul for of Bratz to           her scult^t. numbered BRYANT 00278, Zeller
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                    Bratz program manager Paula Garcia         Dec., Exh. 28; Deposition Transcript of
              1
                    testified that the same drawing was        Paula Garcia Vol. 2 ("Garcia Tr. Vol.
              2     completed between October 4, 2000 and      2"), dated May 25, 2007, at 5$9:25-
                    October 19, 2000.                          592:7 (Garcia testifies that she thinks
              3                                                the drawing was created in between
                                                               October 4, 2000 and October 19, 2000,
              4                                                and that it was given to Margaret
                                                               Leah ,Core Dec., Exh. 20.
              5
                    70.   Steven Linker, a third party         See Collection of drawings marked as
              6     vendor, testified that he received the     Exhibit 323 in this action at SL00044,
                    same key sculptural drawing that Bryant    Proctor Dec., Exh. 16; see also
              7     created for the sculptor as part of a      Deposition Transcript of Steven Linker
                    packet of materials from Bryant and        {"Linker Tr."), dated September 13,
              8
                    MGA while Bryant was still employed        2006 at 77:11-13 (describing Ex. 323,
              9     by Mattel.      Linker described the       Bates-numbered SL00013-63, as
                    drawin as
            1a
                                                                                                  Core
            11                                                 Dec., Exh. 9; id. at 89:11-21
            12

            13

             14

             1S

             16
                                                         Core Dec., Exh. 9.
             17     71. Bryant admits that he worked on See collection of Bratz drawings marked
                    his Bratz drawings while employed by as Exhibit 2 in this action, Proctor Dec.,
             18                                          Exh. 73; Bryant Tr. Vol. 2 at 296:4-
                    Mattel.
             19                                          297:12 (Bryant admits to coloring the
                                                         drawings collectively marked as Exhibit
            20                                           2 in this action in 1999, and that, to his
                                                         best recollection, he put them together
            21                                           to form a packet in 1999), Zeller Dec.,
                                                         Exh. 2; Werdeger letter to Proctor, dated
            22
                                                                   February 27, 2008, Proctor Dec., Exh.
            23                                            120.
                    72.   Bryant admits to not telling Bryant Tr. Vol. 4 at 885:3-18, Zeller
            24      anyone at Mattel about his Bratz Dec., Exh. 4
                    drawin s.
            25
                    73.   Bryant specifically wrote to Facsimile from Bryant to David
            26      MGA's counsel, in the course of their Rosenbaum,          Bates-numbered
                    negotiation    of the    Bryant-MGA   MGA007337-40, Proctor Dec., Exh. 86.
            27      Agreement, that he had signed a
                    confidentialit a reement with Mattel,
            ?R

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                                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE I3RYANT
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                    but could not forward it to him because
              1
                    secu^ a copy would ^
              2                  at Mattel.      That same
                    communication contained the header of
              3     `Mattel Collectibles" plainly inscribed
                    on it, providing further indication that
              4     Bryant was wrongfully using Mattel's
              5     resources to do MGA's biddin .
                    74. Neither Bryant nor the MGA                  MGA's      [Proposed]  Statement   of
              6     defendants dispute that Bryant showed           Uncontroverted Facts and Conclusions
                    MGA his Bratz drawings while                    of Law in Support of Their Motion for
              7     employed by Mattel.                             Partial Summary Judgment {"MGA
                                                                    UF" at     8-9, 11-12.
              8
                    75.   The Bryant-MGA . Agreement                Agreement between Carter Bryant and
              9     obligated Bryant to rovide his services         MGA {"Bryant-MGA Agreement") at 1,
                    to MGA on a                       while         Bates-numbered BRYANT 00794-799,
             10     B ant was still a Mattel em to ee.              Zeller Dec., Exh. 30.
                    76.   While still employed at Mattel,           Bryant-MGA Agreement at ¶ 3(a),
             11
                    Bryant entered into the Bryant-MGA              Zeller Dec., Exh. 30.
             12     A reement which assi ned to MGA all
                                                  includin
             13     co ri hts to
             14
                    77.   The Mattel Inventions A reement           Mattel's     Employee     Confidential
             15
                    assi ns to Mattel                               Information and Inventions Agreement
             16                       in Bryant's inventions        at ¶2 (a} ("Inventions Agreement"),
                    to the extent the were                          Bates-numbered M 0001596, Zeller
             17                                                     Dec., Exh. 31.
             18

             19                 And also his

            20

            21      78.   The     Conflict      Interest Conflict of Interest Questionnaire ("COI
                                               of
            22       uestionnaire re wires em Io ees to Questionnaire),      Bates-numbered M
                                                         0001621, Zeller Dec., Exh. 32.
            23
                    The COI Questionnaire also re wires
            24      em to ees to
            25

            26

            27      79.   Bryant first worked for Mattel as Bryant's 1995 Employee Confidential
                    a desi ner in the mainline Barbie row Information and Inventions A reement
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                     from 1995 to 1998.                       (" 1995 Inventions Agreement"), Zeller
               1                                              Dec., Exh. 33; Bryant's Employment
               2                                              Application, dated January 1, 1999,
                                                              listing his first term of em loyment with
               3                                              Mattel as                     Zeller Dec.,
                                                              Exh 34.
               4     80. ^ Bryant      was     credited with News article about Teen Skipper, Bates-
               S     successfully re-designing the body of numbered BRYANT 00943-4 (noting
                     Mattel's fashion doll "Teen Skipper" Bryant at BRYANT 00944}, Zeller
               6     during his first period of employment at Dec., Exh. 35. See also Bryant's cover
                     Mattel.                                  letter to Hasbro, dated July 14, 1998,
               7                                              Bates-numbered        BRYANT        003 77
               8

               9

             10
                                                                  Zeller Dec., Exh . 36; Bryant' s Resume,
             I1                                                   Bates-numbered BRYANT 00871-2,
             12                                                   {Bryant's   Special    Accomplishments
                                                                  section of his resumes lists him as
             13
                                                                  Zeller Dec., Exh. 37. Bryant' s Cover
             14                                                   Letter to Leggett & Platt, Bates-
                                                                  numbered BRYANT 04647, ( Indicatin
             15
                                                                  that his experience at Mattel
             16

             17

             18

             19
                                                                                                    Zeller
             20                                                   Dec., Exh. 3 8.
                     81.   Brvant's                               Bryant's cover Ietter to Leggett & Platt,
             21                                                   Inc., dated May 27, 1998, Bates-
             22                                                   numbered BRYANT 04674, Zeller
                                                                  Dec., Exh. 38.
             23

             24

             25      82.   In   1998,   while Bryant was J. Bryant Vol. 1 at 83:20-86:22, Zeller
             2^                       to Mattel, he discussed Dec., Exh. 20.
                     with his mother the fact that he could
             27      not sell sketches on the side because it
                     would
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o72osr2aa77s3 .^o^                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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              1
                    $3.   In 2001, Bryant explained to              E-mail exchange between Bryant and
              2     Marlow the copyright assignment in his          Veronica and Peter Marlow, Bates-
                    contract with MGA, which was at least           numbered KMW-M 007635-8,         at
              3     as technical as his Mattel Inventions           007636 ^ where B ant ex lained,
                    Agreement.
              4

              5

              6

              7

              8
                                                                                                 Zeller
              9                                              Dec., Exh. 13; $ryant Tr, Vol. 4 at
                                                             861:18-862:2, Zeller Dec., Exh. 4.
             10     84. Bryant does not claim ownership Defendants have not provided any facts
                    of many designs he created at Mattel, to dispute this.
             11
                    including the following : Teen Skipper,
             12     Barbie Collectibles Greek Goddesses,
                    Grand Entrance Barbie, Mann's Chinese
             13     Barbie,          Barbie          Awards
                    NightlHollywood Collection, Barbie
             14     Spring     Mass      Getaway,     Barbie
             15
                    Collectible Birds of Beaut -- Swan.
                    85.    Witnesses have given conflicting Deposition Transcript of Richard Irmen
             16     accounts of why Bryant left Mattel in Vol. 1 ("Irmen Tr. Vol . 1 "), dated
                    early 1998.                              September 28, 2007, at 46:6-48:16
             17                                              (testifying that Bryant left Mattel the
                                                             f rst time to pursue a freelance career in
             18
                                                             desi n because he did not like
             19
                                                         Zeller Dec., Exh . 39; J. Bryant Tr. Vol.
            20                                           1 at 23:14-25:13 (testifying that Bryant
                                                         moved back to Missouri in 1998
            21                                           because he was
            22                                                  Zeller Dec., Exh . 20; Bryant Tr.
                                                         Vol. 1 at 145:13-146:13 (testifying that
            23                                           he wanted to pursue a freelance career
                                                         and that he missed his family; also
            24                                           acknowledging that he had broken up
                                                         with his partner Irmen at the time),
            25
                                                         Zeller Dec., Exh. 1.
            26      86.   Bryant claims he created black Bryant Tr. Vol. 1 at 140:9-141:14
                    and white Bratz sketches while living in        (discussing his first drawings which
            27      Missouri in 1998.                               were done in Missouri ), 149:2-15
                                                                     acknowled in the drawin s were in
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                                                                     black and white ,Zeller Dec., Exh. 1.
                    1
                           87.   Mattel    expert    William   Flynn Expert Report of William Flynn ("Flynn
                    2      determined     Bryant's   1998   Missouri Report"), dated Februa         11, 2008, at 8
                           drawings were created aftet^ those he     notin
                    3      testif ed as having created in 1999.
                    4

                    5

                    6
                                                                                                              see
                    7                                                    also Flynn Report at 7; with Bryant Vol.
                                                                         2 at 334:9-10 re ardin        BRYANT
                    8
                                                                         0199,
                    9                                                                                         and
                                                                         Bryant Vol.      2 at 339:14-340:1
                  10                                                      re ardin BRYANT 00220,
                  11

                  12
                           8$.   Mattel expert Lloyd Cunningham Expert Report of Lloyd Cunningham
                  13       determined that drawings       Bryant {"Cunningham Re ort" ,dated Februa
                           claimed to have created in 1998 were 11, 2008, at 2
                  14       torn out of a notebook containing
                           images and entries Bryant completed
                  15
                           while he was employed by Mattel in the
                  16       1999-2000 period.                                          where Q-4 has been
                                                                  marked as Exhibit 1155 in these
                  17                                              proceedings; id, at 3-4 {noting that
                                                                  00179 and 00182 bled onto pages
                  18
                                                                  located within the Q-4 Pen-Tab s iral
                  19                                              notebook ; id. at 4

                  20

                  21

                  22
                                                                         C£ Bryant Tr. Vol. 2 at 328:4-329:1
                  23                                                     {noting BRYANT 00179-82 ware
                                                                         among the first drawings he did in 1998
                  24                                                     on notebook paper}; Zeller Dec., Exh. 2;
                                                                         id.   at   394:25-395:13      (discussing
                  25
                                                                         BRYANT 00334 as a drawing from the
                  26                                                     Barbie jewel-themed   ro'ect and
                                                                         res onding
                  27                                                          to whether BRYANT 00334 and
                                                                         BRYANT 00179-82 came from the
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                                                                     same notebook); Zeller Dec., Exh. 2;
               1
                                                                     Pen-Tab Spiral Notebook referenced in
               2                                                     Cunningham's Report, marked              as
                                                                     Exhibit 1155 in these proceedings (and
               3                                                     which, notably, includes BRYANT
                                                                     00334), Zeller Dec., Exh. 40.            _
               4    89.    Mattel expert Valery Aginsky              Expert Report of Valery Aginsky
               5    determined that information regarding            {"Aginsky Report") dated February 8,
                    when and where the drawings were                 2008 , at 8 {suggesting that the entry
               6    created was added to a notary book after         "From 1998 Missouri" was added at
                    Bryant's drawings had already been               some point after the initial four lines
               7    notarized.                                       regarding the dolls}; id . at 7, Attachment
                                                                     1 (noting two different inks were used to
               8
                                                                     make the entries}; id. at 3-4 (The
               9                                                     spacing between the initial four lines
                                                                     and the entry at issue also bolster the
             10                                                      theory that "From 1998 Missouri" was
                                                                     subsequently added to the log).
             11
                    90. The only drawings that Bryant                Collection of drawings that " 8/1998"
             12     has produced with a handwritten date of          notations , Bates-numbered BRYANT
                    "811998" are drawings that he admits are         00222-34 and marked as Exhibit 3 in
             13     color drawings he created in 1999.               these proceedings , Zeller Dec., Exh. 41;
                                                                     Bryant Vol. 2 at 297:17-301:7, Zeller
             14                                                      Dec., Exh. 2.
             15
                    91.    Bryant does not recall when               Bryant Vol. 2 at 297:17-301:7, Zeller
                    "$11998" was written on those drawings.          Dec., Exh. 2.
             16     92.    Bryant admits that he colored his         ^ofiec^ion or arawings , tsa^es-numnerea
                    Bratz drawings in 1999, and that, to his         BRYANT 00310-19, marked as Exhibit
             17     best recollection , he assembled them in         2 in these proceedings , Proctor Dec.,
                    a packet in 1999.                                Exh. 73; Bryant Tr. Vol. 2 at 296:4-
             18
                                                                     297:14, Zeller Dec., Exh. 2.
             19     N3.     t3ryant testified to showing his Bryant Tr. Vol. 1 at 149:16-20, Zeller
                    initial Bratz drawings to his mother in Dec., Exh. 1.
             2a     1998.
                    94.    Bryant's mother testified to seeing       E.g., J. Bryant Vol. 1 at 160:14-161:1
             21
                    drawings in 1998 -- drawings that                (testifying that she believes she saw
             22     Bryant testified he did not create until         BRYANT 00164, marked as Exhibit
                    later. She also testified as having not          713, in Missouri in 1998 ); Zeller Dec.,
             23     seen other drawings in 1998 -- drawings          Exh. 20.
                    Bryant identified as drawings he created
             24     in 1998.                                         C£ Bryant Tr. Vol . 2 at 315 : 19-317:2
             25
                                                                     (testifyin that he did drew BRYANT
                                                                     00164                            Zeller
             2s                                                      Dec., Exh. 2.

             27                                                      See also J. B ant Tr. Vol . 1 at 198:3-12
                                                                     ^savin^ she                       whether
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                                                               she saw BRYANT 00179 , marked as
                1
                                                               Exhibit 751 in these proceedings, in
               2                                               Missouri), Zeller Dec., Exh. 20.

                3                                              C£ Bryant Tr. Vol. 2 at 328:4-6
                                                               confirmin BRYANT OOI79
               4

                5
                                                                                 Zeller Dec., Exh. 2
                6
                      95.    Bryant returned to Mattel in Bryant's          Employment     Application,
                7     January 1999 to work as a designer in dated January 1, 1999, Zeller Dec., Exh
                      Mattel's Barbie Collectible ' s group.   34; Inventions Agreement, Zeller Dec.,
                8
                                                               Exh. 31; Bryant Tr. VoI. 2 at 274:13-14,
                9                                              Zeller Dec., Exh. 2.
                      9b. Mattel's 1998 offer letter to Mattel offer letter dated December 9,
              10      Bryant informed him the offer was 1998,            Bates-numbered       BRYANT
                      contingent upon, among other things, 001198-9, Zeller Dec., Exh. 11.
              11
                      Bryant completing a Confidential
              12      Information and Inventions A regiment.
                      97, The Inventions Agreement Bryant 1995 Inventions Agreement, Zeller
              13      signed in 1999 was similar to the one he Dec ., Exh. 33.
                      executed when he previously worked for
              14      Mattel.
              15      98.    The Mattel Inventions Agreement M ers Tr. at 214:17-215:2
                      is standard in the toy industry.
              16

              17

              18

              19

              2a

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              23                                             Zeller Dec., Exh. 12.; Rosenbaum Tr. at
                                                             231:3-16, Zeller Dec., Exh. 7S; Expert
              24                                             Report of Stein at ¶ 3, Stein Dec., Exh.
                                                             1; Expert Report of McRae at ¶ 7,
              25
                                                             McRae Dec., Exh. 2.
              26      99. Mattel employees could -- and Mattel employee Alan Kaye testified
                      some did-- negotiate elements of their employees had refused to sign the
              27      Mattel Inventions Agreements .              inventions agreement          and that
                                                                  there   were
              ^R

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                                                                                                   Kaye
                                                                Tr., Dec. 10, 2004, at 215:3-216:23,
              2                                                 Zeller Dec., Exh. 65; see also Fontanella
                                                                Tr. at 26:11-28:3.

                                                                Robert Hudnut made changes to Mattel's
              4                                                 Employee Confidential Information and
                                                                Inventions Agreement, as well as the
                                                                Conflict of Interest Questionnaire.
              6                                                 Hudnut Agreement, Sates -numbered M
                                                                0098318-9, on which he writes
              7
                                                                                          Zeller Dec.,
              8
                                                                Exh. 7; Hudnut' s side letter, Bates-
              9                                                 numbered M 0098320-1, Zeller Dec.,
                                                                Exh. 8; Hudnut's Questionnaire, Bates-
             10                                                 numbered M 0098322 -3, on which he
                                                                he writes
             11

             12
                                                                       Zeller Dec., Exh. 9; Hudnut
                                                          Tr. at 209:14-211:15, 216:25-220:3,
             13                                           Zeller Dec., Exh. 10.
                     100. Former     Mattel      employee Leahy Tr. Vol. 1 at 186:23-187:5, Zeller
             14      Margaret  Leahy  testified  that she Dec., Exh. 18.
                     understood her obligations to Mattel
             15
                     under    her   Mattel    employment
             lb      u^ vvxxxvAw rU.

                     101. MGA requires its employees to         Deposition Transcript of Edmond Lee
             17      sign analogous agreements.      In fact,   Vol. 1 {"Lee Tr. Vol. 1 "), dated October
                     MGA Hong Kong's 30(b){6) designee          4, 2007, at 65 : 14-70:8, Zeller Dec., Exh.
             18      testif ed to the following: employment     42.
             19      agreements are signed by employees,
                     employees do not negotiate the terms of
             20      the agreement, employees are not
                     advised to consult an attorney, designs
             21      created by employees during their term
                     of employment are owned by the
             22
                     company, moonlighting at competitors
             23      or non-competitors of the company is
                     not allowed.
             24      102. Former Mattel employees Kami          Collection of documents referencing
                     Gillmour and Paula Garcia, who left        Kami Gillmour's Conf dentiality and
             25                                                 Inventions Agreement with MGA,
                     Mattel to work for MGA, signed
             26      agreements analogous to those they         Bates-numbered   MGA 0886848-51
                     signed at Mattel.                          (notinl7
             27

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               3                                                                          Zeller Dec.,
                                                             Exh 43.; Garcia's offer letter and
               4                                             employment terms, Bates-numbered
               5                                             MGA 0876578-85 and marked as
                                                             Exhibit 1117 ,in these proceedings,
               6                                             Zeller Dec., Exh. 44; Deposition
                                                             Transcript of Paula Garcia Vol. 4
               7                                             ("Garcia Tr. Vol. 4"}, dated October 10,
                                                             2007, at 1219:21-1222:15, Zeller Dec.,
               8
                                                             Exh. 45.
               9     103. Bryant' s consulting agreement Bryant-MGA Agreement at ¶ 3 (a),
                     with MGA contains an assignment Zeller Dec., Exh. 30,
             10      provision analogous to that in Mattel's
                     Inventions A reement:
             11      The
             12
             13

             14
             15
                     104. Bryant' s consulting agreement Bryant-MGA Agreement at ¶ 2, Zeller
             16      with MGA places restrictions on Bryant , Dec., Exh. 30.
                     even as a contractor, analogous to those
             17      to which he agreed in Mattel ' s Conflict
                     of Interest Questionnaire:
             18
             19

             20
             21
             22      105. Former MGA employee Victoria Deposition Transcript of Victoria
                     O'Connor testified that Larian referred O'Connor Conf dential ("O'Connor Tr.
             23      to Bryant as an inventor.               Conf'), dated December 6, 2004, at
                                                             79:3-11
             24
             2s
             26
             27                          .                                   (emphasis   added),   Zeller
                                                                 Dec., Exh. 4b.
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                    106.   Bryant signed both the Inventions Inventions Agreement, Zeller Dec., Exh.
              1
                    Agreement and the Conflict of Interest 31; Conflict of Interest Questionnaire,
              2     Questionnaire.                         dated January 4, 1998 [sic; should be
                                                           1999], Bates-numbered M 0001621,
              3                                                 Zeller Dec., Exh. 32; Bryant Tr. Vol. 3
                                                                at 646:20-648:2 {confirming that the
              4                                                 date should have been January 4, 1999},
              5
                                                                Zeller Dec., Exh. 3.
                    107. The Inventions Agreement is            Myers Tr. Vol. 1 at 216:19-23, Zeller
              6     explained to Mattel employees before        Dec., Exh. 12.
                    the si nit.
              7     108. The Inventions A reement states        Inventions Agreement, Zeller Dec., Exh.
                    that the a reement                          31.
              8

              9
                    109. The Inventions A reement states Inventions agreement, Zeller Dec., Exh.
             10     that Em to ee a rees                 31.
             11

             12

             13
                    110. The Inventions A reement states Inventions Agreement, Zeller Dec., Exh.
             14                                          31.
             15

             16

             17

             18
                    111. The      Inventions     A reement Inventions Agreement at ¶ 2(b}, Zeller
             19      rovides                               Dec., Exh. 31.

            20

            21

            22
                    112. Under the Inventions A reement, Inventions Agreement at ¶ 2(a), Zeller
            23      B ant must assist Mattel             Dec., Exh. 31.
            24

            25
                    113. Bryant is required by the Inventions Agreement at ^ 1(a)-{d},
            26      Inventions Agreement to maintain Zeller Dec., Exh. 31.
                    Mattel's proprietary information in strict
            27      confidence,        S ecificall ,
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a^zasrzaa^^ss.^o^                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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              1

              2     114. Per the Inventions A reement, Inventions Agreement at ¶ 3(a), Zeller
                    B ant was re uired to              Dec., Exh. 31.
              3

              4

              5     115.. The    Inventions       A reement Inventions Agreement at ¶ 3(a), Zeller
                     rohibited B ant ,from                  Dec., Exh. 31.
              6

              7



              9

            10      116. In Mattel's Conflict of Interest COI Questionnaire, Zeller Dec., Exh.
                    Questionnaire, Bryant represented that 32.
            11
                    he was not presently workin for an
            12      Mattel com etitor or

             13

             14

            15

            16      117. Bryant       testified    that     he    Bryant Tr. Vol. 3 at 656:12-19, Zeller
                    understood the yes and no questions in        Dec., Exh. 3.
            17      the uestionnaire when he com leted it.
                    118. Bryant testified inconsistently          Bryant f rst testif ed that in 1999, he had
            18
                    under oath as to whether he understood        no understanding of the sentence in the
            19      at least one aspect of his Mattel Conflict    Questionnaire requiring him to notify
                    of Interest Questionnaire.                    his supervisor if circumstances changed.
            20                                                    He also did not understand this at the
                                                                  time of his deposition. Bryant Tr. Vol.
            21                                                    3 at 648:14-650:25, Zeller Dec., Exh. 3.
            22                                                    He later testified, however, that he
                                                                  understood the sentence, summarizin it
            23                                                    as follows,
            24
                                                                            Bryant Tr. Vol. 4 at
            25
                                                           858:11-859:24, Zeller Dec., Exh. 4.
            2b      119. Bryant admitted that he failed to Bryant Tr. Vol. 4 at 885:3-8, Zeller
                    disclose his Bratz inventions to Mattel.          Dec., Exh. 4.
            27      120. Bryant testified that, while at B ant Tr. Vol. 1 at 17:5-6
            7R
                    M att e l , h e h a d ex t ens ive access to an d

                                                                 57
a72osrzaa^^a3.^a7         '                             MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                    exposure to confidential and proprietary
                    information, including not only the                         Corey Dec., Exh . 1; id. at
               2    designs for the Barbie line, but other       14:20-16 :8 (admitting that he had access
                    proposed lines of dolls and toys; that he    to confidential information and statin
                    had conf dential knowledge relating to
                    design, marketing, production, sales;
               4    that his access to the creative resources           Corey Dec., Exh . 1; Bryant Tr.
                    and concepts at the core of Mattel's         Vol. 4 at 822: 1-826:20 (discussing his
                    business put him in a position of trust      attendance at meetings regarding
               6    within the company.                          products and products in development),
                                                                 Corey Dec., Exh. 7; id. at 828:11-
               7                                                 830:1 S (acknowledging the openness of
                                                                 the Mattel desi n center and the
               S                                                  ossibili that "
               9
                                                                                   Corey Dec.,
             10                                          Exh. 4; Bryant Tr. Vol. 5 at 1095:15-
                                                         1097:4 (admitting that he attended
             11                                          brainstormin  sessions and that he
                                                                           Corey Dec., Exh. 5.
             12
                    121. In the 1999-2000 time frame the Tomiyama Tr. at 46:9-21 , Zeller Dec.,
             13     goal of everyone else in the doll Exh. 15.
                    development process was to be faithful
             14     to the vision of the preliminary designer
                    so that the final product would be
              IS
                    faithful to the preliminary designer's
              16    vision.
                    122. Christine Tomiyama, a former Tomiyama Tr. Vol. 1 at 34:16-36:20,
              17    Mattel employee who worked with Zeller Dec ., Exh. 1S.
                    Bryant when he was a preliminary
              18    designer in Barbie Collectibles, noted
              19    that he gave extremely detailed direction
                    as to the look of his dolls when she
             20     worked with him.
                    123. Tomiyama testified that f nal Tomiyama Tr. Vol . 1 at 45 : 6-15, Zeller
             21     products on which Bryant was the Dec., Exh. 15.
                    preliminary    designer      looked     as
             22
                    consistent with his initial vision as they
             23     could and still meet Mattel's cost
             24     124. Evidence establishes that Bryant               ^ Bryant's invoice dated August
                                                                 See, e.^.,
                    performed work for MGA while                 31, 2000 and marked as Exhibit 593 in
             25
                    employed by Mattel and that MGA paid         this action, Proctor Dec ., Exh. 76;
             26     him for this work.                           Brode Percipient Tr. at 117 :10-118:6,
                                                                 Corey Dec., Exh . 21; internal MGA e-
             27                                                  mail regarding setting Bryant up as a
                                                                 vendor. Bates-numbered MGA 001291,
             ^R

                                                                58
072x912447783.1 {                                                             OP GENUINE
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                                                                Proctor llec., 1Jxh. ^y; lleposztion
               1
                                                                Transcript of MGA Designee Kerri
               2                                                Brode ("Brode Designee Tr."} dated
                                                                January 19, 2007, at 53:6-14, Corey
               3                                                Dec., Exh. 26; Bryant's actual expense
                                                                report, receipts, and MGA's payment to
               4                                                Bryant for his Bratz expenses, Bates-
               5
                                                                numbered MGA 3786749-60, Proctor
                                                                Dec., Exh. 111.
               6     125. Bryant provided direction and         Leahy Tr. VoI. 1 at 158:3-$ (regarding
                     feedback on at least two completed         first sculpt), Zeller Dec., Exh. 18; id. at
               7     versions of the Bratz sculpt before he     222:8-19 (noting that she received
                     even left Mattel.                          comments on her revised sculpt on
               S
                                                                October. 6, 2000}, Zeller Dec., Exh. 18.
               9     126. Bryant represented to a third party   Facsimile from Bryant to Universal
                     vendor in Japan that he was working for    Commerce        Corp.,   Bates-numbered
             10      MGA while he was still employed by         BRYANT 01200-03, Zeller Dec., Exh.
                     Mattel.                                    47; see also ¶ S4.
             11
                     127. Bryant met with a vendor         October 12, 2000 e-mail from Liz
             12                                            Hogan to Paula Treantafelles and Carter
                     regarding packaging for the Bratz dolls,
                     and provided the vendor with detailed Bryant, copy to Steve Linker, Bates-
             13      information regarding the piece count numbered SL00001, Zeller Dec., Exh.
                     and size of the Bratz dolls.          48; Linker Tr. Vol. 1 at 57:7-21, Corey
             14                                            Dec. Exh. 9; October 14, 2000 e-mail
             15
                                                           from Hogan to Treantafelles copying
                                                           Linker, Bates-numbered SLOOOOS-7,
             16                                            Zeller Dec., Exh. 49; Linker Tr. VoI. 1
                                                           at 66:16-67:9, Corey Dec., Exh. 9;
             17                                            Bryant Tr. Vol. 1 at 221:21-222:11
                                                           {noting that before he signed his
             18
                                                           contract with MGA, he and Garcia met
             19                                            with Steve Linker regarding packaging
                                                           designs for Bratz}, Corey Dec., Exh. 1.
             20      128. Before Bryant left Mattel, he Linker Tr. Vol. 1 at 63:22-64:3
                     misrepresented to a vendor who knew
             2l      him from Mattel when the vendor asked
             22      whether Bryant was still working at
                     Mattel.
             23                                                                        Zeller Dec.,
                                                                                              A   A   /   1   4•




             24

             25

             26                                                 Dec
                     129. During his exit interview, Bryant Bryant Tr. Vol. 1. at 208:22-24, Corey
             27      claimed that he was leaving to start his Dec., Exh. 1.
                     own freelancing business and work for
             ?R


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072o9^2aa7z8s .^o7         -                           MATTEL'S STATEMENT OP
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                 1
                      130. Had Mattel been aware that Deposition              Transcript     of Sandra
                 2    Bryant was going to a competitor, it Yonemoto , Confidential ("Yonemoto
                      would have followed its policy of Con £ Tr. Vol. 1 "), dated May 30, 2007,
                 3    expelling that employee the same day of at 67:16-19, Corey Dec., Exh. 28.
                      his announced resi nation.
                 4
                      131. When Bryant left Mattel's employ B ant Tr. Vol. 1 at 209:16-17
                 5    in October 2000, he misrepresented
                      about where he was going, telling
                 6    Mattel employees that he was not going
                      to work for a competitor .               Corey Dec., Exh.           1; Deposition
                 7                                             Transcript of Jill Nordquist {"Nordquist
                 8
                                                               Tr."), dated July 31, 2007, at 145:1-9
                                                                  ord uist testified that
                 9
             la                                                                   Corey Dec., Exh. 30; id.
                                                                  at 127:22-128:9 (when asked whether
             11
                                                                  Bryant was going to a competitive doll
             12                                                   company, Bryant responded -
                                                                  ^ Corey Dec., Exh. 30;
             13                                                   Deposition Transcript of Ivy Ross
                                                                  ("Ross Tr."), dated January 17, 2008, at
             14                                                   87:5-23
             15

             16

             17

             18

             19                                                                         Corey Dec., Exh
                                                                  31; id. at
             2a                                                   described
             21                                                   Corey Dec., Ens         at 220:5-12
             22                                                   (Ross explains that Ron

             23
             24

             25
                                                                        Core Dec., Exh. 31.
             26       132. Jill Nordquist testifed that Mina Nordquist Tr. Vol. 1 at 125:20-126:6,
                      Mirkazemi did not know where Bryant Zeller Dec., Exh. 51.
             27       was aoin^.
                     ^^ 133. Larian directed a subordinate to (O'Connor Conf. Tr., dated D^cember^l
             7R


                                                             60
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                                                            'EL'S STA'
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                     conceal a fax header from Bryant's         at 18:13-1$, Corey Dec., Exh. 1
                 1
                     signed contract signature page before
                 2   sending the page to Patricia Glaser,
                     Larian's attorney. The concealed fax
                 3   header would have shown that the age
                     was faxed from                     _
                 4   134. MGA has produced a document MGA spreadsheet listing former Mattel
                 S   that shows B ant's                are employees,    Bates-numbered     MGA
                                           and     Br      1134723-30, at 26, Proctor Dec., Exh.
                 6                            are               112.
                 7   135. It was communicated within      Deposition Transcript of Rachel Harris
                     MGA --- including by both Isaac Larian
                                                          Vol. 1 ("Rachel Harris Tr. Vol. 1 "),
                 S
                     and Paula Garcia -- that no one was to
                                                          dated February 26, 2008, at 170:12-
                 9   discuss Bryant's involvement with Bratz
                                                          172:10, Zeller Dec., Exh. 52; id. at
                     outside of MGA.                      262:25-263:17, Zeller Dec., Exh. 52.
             10      136. In an a-mail dated March 12, E-mail from Isaac Larian dated March
                     2002, from Isaac Larian to MGA 12, 2002 instructing MGA personnel,
             11
                     personnel, regarding in uiries about Bates-numbered MGA 3801819-22,
             12      Bratz. Larian stated tha             Proctor Dec., Exh. 97.

             13

             14      I37. When an MGA vendor wrote Rachel Harris Tr. Vol. 1 at 265:24-
             15      about Bryant to a Bratz fan site, Larian 267:15, Zeller Dec., Exh. 52.
                     directed that the vendor in question was
             16      no longer to receive any work from
                     MGA.
             17      138. In response to an e-mail from E-mail from Isaac Larian to Dee Dee
                     Larian proposing development of a Valencia dated February 6, 2003, Bates-
             18
                     collectible Bratz doll, Dee Dee Valencia numbered MGA 3801558-9, Proctor
             19      proposed creating a limited. edition Dec., Exh. 98.
                     model that would create a marketing
            2a       - However, she raised the
                     question:
            21

            22       139. In public statements, Larian See Aff davit of Isaac Larian in MGA v.
                     identified himself, not Bryant, as the Metson at p. 2, ¶ 8, Bates-numbered
            23       creator of Bratz.                      MGA 0868039-91 Larian claimin he
                                                            ,^
            24                                                             Proctor Dec,,    Exh.   99;
            25
                                                                Woodman Tr. Vol. I at 218 :1-21, Corey
                                                                Dec., Exh . 17; Business Week article
            26                                                  discussing Mattel and Bratz, Bates-
                                                                numbered M 0074054-6,
            27

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0724912447783.
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                                                                                 Zeller Dec., Exh. 53;
               1
                                                                San Fernando Valley Business Journal
               2                                                article discussin Larian, Larian states
                                                                                                 Zeller
               3                                                Dec., Exh. 54.
               4                                                Similarly, Larian represented to the U.S.
               5                                                Patent and Trademark Off ce that he had
                                                                created the Bratz feet and packaging:
               6                                                U.S. patent application for Bratz feet
                                                                marked as Exhibit 500 in this action,
               7                                                Proctor Dec., Exh. 101; Amendment to
                                                                U.S. patent application for Bratz feet
               8
                                                                marked as Exhibit 548 in this action,
               9                                                Proctor Dec., Exh. 102; Patent for
                                                                trapezoidal packaging marked as Exhibit
              10                                                SS2 in this action, Proctor Dec., Exh.
                                                                103; Patent application for trapezoidal
              11                                                packaging marked as Exhibit 615 in this
              12                                                action, Proctor Dec., Exh. 104. See also
                                                                e-mail from Isaac Larian dated March
              13                                                12, 2002 instructing MGA personnel,
                                                                Bates-numbered MGA 3801$19-22
              14                                                (Larian demanded that a Bratz website
                                                                make no reference to Mattel), Proctor
              15
                                                                Dec., Exh 97.
              16     140. MGA admits that no public             MGA           Entertainment,        lnc.'s
                     statement even recognizing Bryant as       Supplemental and Amended Responses
              17     Bratz's creator was issued until July 1$,  to Mattel, Inc.`s Third Set of Requests
                     2003, when the Wall Street Journal         for Admission to MGA Entertainment,
              18     published     an   article   with     that Inc., Proctor Dec., Exh. 106.
             19      information.
                     141. The       Inventions    A reement Inventions Agreement at ¶ 4 (a), Zeller
             20       rovides,                                  Dec., Exh. 31.
             21

             22

             23      142. Elise Cloonan testified that          Cloonan Tr. at 105:23-1Ob:22, Zeller
                     individuals moonlighted at Mattel, but     Dec., Exh. 17.
             24      she knew of no specific examples,
                     except Amy Myers who Cloonan
             25
                     claimed was disciplined for working at
             26      department store while working for
                     Mattel.
             27      143. Myers, however, denies that she       Myers Tr. at 62:10-23, Zeller Dec., Exh.
                     ever worked for another com an while       12.
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                          '                           MATTEL'S STATEMENT OF GENUINE ISSUES ItE BRYANT
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                  employed by Mattel or that she was ever
              1
                  disciplined for doing so.
              2    144. After a break in his deposition in    Bryant Tr. Vol. 4 at 866:21-$70:12,
                  which he talked with counsel, Bryant        Zeller Dec., Exh. 4.
              3   - his testimony, stating that
                  there were rumors of individuals
              4   moonlighting at Mattel.         Bryant,
              5   however, did not any specific examples
                  of employees moonlighting-- just
              6   generalized rumors.
                   145. Assuming Mattel employees were        fee, e.^., Carter k3ryant' s Kesponses to
              7   moonlighting as defendants suggest,         Mattel, Inc.'s Third Set of Requests for
                  such work, based on defendants' own         Admission        Propounded     to    All
              8
                  description, was completely unrelated to    Defendants      at   35   (Joni   Pratte's
              9   Mattel's core line of business.             volleyball and basketball books; Lori
                                                              Sipos' puppets ; Veronica Marlow's
             10                                               handbags ; other employees' weekend
                                                              nail and hair salon work}, Proctor Dec.,
             11                                               Exh. 88.
             12   146. Margaret Hatch Leahy admitted          Leahy Tr. Vol. 1 at 186:23-187:21,
                  to doing work for a Mattel vendor while     Zeller Dec., Exh. 18.
             13   she was employed by Mattel, but she
                  also acknowledged that it was in
             14   violation of her employment agreement
             15
                  and that she did not talk about her side
                  work      with     senior    executives.
             16   Accordingly, Mattel did not learn of her
                  actions until she was deposed in this
             17   case in December 2007.
                   147. Mattel did not learn of three         rvlanei iearnea or Zne worx perrormea on
             18
                  Mattel employees who had performed          Bratz by Ana Isabel Cabrera, Beatrice
             19   Bratz work during their employment at       Morales, and Maria Salazar, while each
                  Mattel    until    Veronica    Marlow's     was still employed by Mattel, at
            20    deposition on December 28, 2007.            Veronica Marlow's deposition {"Marlow
                                                              Tr. "}, on December 28, 2007, at 286:23-
            21                                                290:13 (regarding Cabrera), 306:14-
            22                                                308:1 {regarding Morales}, 363:15-
                                                              364:9 (regarding Salazar}, Zeller Dec.,
            23                                                Exh. 21.

            24                                                This was the first time Mattel learned of
                                                              these   individuals,    despite having
            25
                                                              specifically sought the names of such
            26                                                individuals from Defendants years ago.
                                                              See e.^., Bryant Tr. Vol. 2 at 286:25-
            27                                                287:5; Zeller Dec., Exh. 2; Deposition
                                                              Transcript of Lisa Tonnu Vol. 2
            7R

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                                                               ("Tonnu Tr. Vol. 2") , dated , at 301:2-17 ,
                                                               Zeller  Dec.,     Exh.     22;      MGA's
                                                               Supplemental Responses to Mattel's
                                                               Revised Third Set of Interrogatories at
                  s                                            64-70, Zeller Dec., Exh. 23. In each
                                                               instance, Defendants failed to disclose
                  ^                                            that any of these individuals worked on
                  ^                                            Bratz while employed by Mattel.

                                                               Carter Bryant denied being aware of any
                                                               other Mattel employee working for
                                                               MGA while he or she was employed by
                                                               Mattel. Bryant Tr. Vol. 2 at 286:25-
                                                               287:5, Zeller Dec., Exh. 2.

                                                               As Marlow conf rmed,         however,
             1^ ?                                              Cabrera was a co-worker of Bryant's in
                                                               Mattel's Barbie Collector department
             1                                                 and worked directly with Mr. Bryant.
             ^:
                                                               Marlow Tr. Vol. 1 at 296:18-24, Zeller
                                                               Dec., Exh. 21.
             I:
                                                               MGA's Rule 30(b}{6} designee on this
             I^ ^                                              topic, Lisa Tonnu, identified no one as
                                                               having performed work or services for
             1:
                  '                                            MGA while also employed by Mattel at
             1^                                                any time since 1998. Tonnu Tr. Vol. 2
                                                               at 301:2-17, Zeller Dec., Exh. 22.
             1'
                                                              MGA's interrogatory responses entirely
             1 '                                              failed to name either Ms, Cabrera or Ms.
             l!
                  ^                                           Morales as ever having worked on Bratz
                                                              and claimed that Ms. Salazar, who
             2i ^                                             subsequently      became     an    MGA
                                                              employee, did not work on Bratz until
             2                                                more than two years after she left
                                                              Mattel.         MGA's      Supplemental
             2:
                                                              Responses to Mattel's Revised Third Set
             2:                                               of Interrogatories at 64-70, Zeller Dec.,
                                                              Exh. 23.
             2^ ^      148. Bryant' s role at Mattel included Tomiyama testified that his job duties at
                       directing other employees.             Mattel including instructing people on
             2.
                  `                                           what to do e.g., hair, face, and fashion
             2^                                               details for dolls, Tomiyama Tr, at
                  ^                                           34:19-36:20 conf rmin that B ant
             2'




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                  07         ^                           MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                     1
                                                                                                and that he
                     2
                                                                        Zeller Dec., Exh. 15.
                     3
                                                                        Also, see testimony of Pasko (stating
                    4                                                   that her job at Mattel included directing
                     5                                                  others since as a desi ner she would
                                                                                                        as well as
                     6                                                  be consulted on                     Pasko
                                                                        Tr. at 50 :21-52:21, Zeller Dec., Exh.16
                    7
                           149. Preliminary designers like Bryant Tomiyama      Tr.     at             37:25-39:8
                     8
                           also instructed development designers.  acknowled in     that
                    9

                   10
                                                                        Zeller Dec., Exh. 1S.
                   11

                   12                                                   Pasko Tr. at 51:22-52:12 ex lainin
                                                                        that
                   13

                   14                                                                   She would do this by
                   15
                                                                        using the resources that she had by
                                                                        consultin with and ivin direction to
                   16
                                                                         Zeller Dec., Exh.16.
                   17      150. Bryant directed, reviewed, and Bryant Tr. Vol. 5 at 1093:14-1094:7
                           commented on the work of other Mattel commentin that
                   18
                           employees.
                  19

                  20
                                                                                                    Zeller Dec.,
                  21                                                    Exh. 5;       id. at 1094:8-1095:13
                  22                                                    (confirming that he would give direction
                                                                        and see whether his directions were
                  23                                                    complied with), Zeller Dec., Exh. S.
                  24       1 S 1. Bryant had responsibilities with Deposition Transcript of Carter Bryant
                           respect to vendors and was involved in Vol . S ("Bryant Tr. Vol. 5 "), dated, at
                  25
                           decisions as to which vendors to use.    1091:17-1093:12 {Bryant confrmed he
                  26                                               reviewed their work, and made
                                                                   judgments concerning the adequacy or
                  27                                               acceptability of their work ), Zeller Dec.,
                                                                   Exh. 5.
                  7R


                                                                   65
0 7 2 6912 44 7 78 3.307
                                 '                            MATTEL' S STATEMENT OF GENUINE ISSUES RE BRYANT
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                           152. Bryant admitted to Navin his Bryant Tr.                Vol.   1   at   53:24-54:10
                    1
                           drawin s notarized in order to get ^ B ant
                    2                           and to show their
                           date of creation.
                    3                                                                                  Zeller Dec.,
                                                                     Exh. 1.
                    4

                    S      153. Ramona Prince testified that Prince Tr. Vol. 1 at 138:20-159:21,
                           Bryant wanted to have his Bratz Zeller Dec., Exh. 55.
                    6      drawin s notarized because he wanted
                    7                            Missouri.
                           154. Bryant's father believes that he Deposition Transcript of Thomas Bryant
                    8
                           had a discussion with his son regarding ("T. Bryant Tr."),dated September 26,
                    9      his employment contract.                2007, at 57:13-60:21 B ant's father
                                                                   testif ed
                  la
                                                                     Zeller Dec., Exh. 56.
                  11

                  12       155. Prior to his first period of T. Bryant at 1.50:23-152:16 {Bryant's
                           employment at Mattel employment, father noting that it may have been
                  13       Bryant was aware of the need to obtain before Bryant was a student at Otis that
                           intellectual   property rights for his he had conversations with Bryant about
                  14       creations. In fact, he spoke of a ^ the need to obtain intellectual ri hts to
                  15
                                            for his songs.      rotect
                                                                                                  Zeller
                  16                                                  Dec., Exh. 56.

                  17       156. Bryant's former roommate and Cloonan Tr. at 132:10-133:3, Zeller
                           close friend at Mattel, Elise Cloonan,     Dec., Exh. 17.
                  18
                           testified that she heard through the
                  19                             that Bryant was
                           involved with . Bratz, but she also
                 2a        testified
                 21

                 22        157. Cloonan testified that           Cloonan Tr. at 158:15-17, Zeller Dec.,
                                                 that she became Exh. 17.
                 23        aware that he might be involved with
                           Bratz.
                 24        1 S8. Cloonan testified that when she Cloonan Tr. at 129:54-160:7
                 2S
                           first learned he was leaving Mattel for
                           the second time, she thought that he was
                 26        going back to Missouri to work on a
                           music CD.
                 27                                                                   Zeller Dec, Exh.
                 7R
                                                                    17.


                                                                    66
0 7 2 0 912 44 778 3.107
                                                             MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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                    159. After Bryant left Mattel, Cloonan        Cloonan Tr. at 160:4-6, Corey Dec,
              1
                    learned he was still in California when       Exh.6; see id. at 161:11-19 "His car, if
              2     she saw his car in the driveway at his        his car is in the driveway - he's still
                    house.    She then was under the              there ." Zeller Dec. Exh. 17
              3     im ression that he was working on
              4     160. Cloonan testified that she never Cloonan Tr. at 131: 8-20, Zeller Dec.,
              5     had a discussion with Bryant about Exh. 17.
                    Bratz until November 2002 -- after she
              6     left Mattel . She confronted him, and he
                    told her that he had not told her about
              7     his work on Bratz because
              8

              9
                    161 . When asked about Bryant by Cloonan Tr. at 325 :10-19
             10     others in the Design Center after he left,                           Zeller Dec.,
                    Cloonan stated that she did not know Exh. 17.
             11     what B ant was doin .
             12     162. The Checkout Form rovides             Proprietary   Information   Checkout,
                                                               Bates-numbered M 0001597, Proctor
             13                                                Dec., Exh. 7.
             14

             15

             16
                    163. In a facsimile to Paula Garcia           Bates-number MGA0829297,          Zeller
             17     from trademark counsel, Lucy Arant            Dec., Exh. 119.
                    asks Paula Garcia, the Bratz project
             18
                    manager, to confirm that she indicated
             19     that the original four Bratz dolls' names
                    have a date of first use of June 15, 2000.
            24      164. In other litigation , MGA stated         MGA Entertainment, Inc. (1st Plaintiff),
                    that the designs of the Bratz dolls were      MGA Entertainment (HK) Limited {2nd
            21
                    originally created by Mr. Carter Bryant       Plaintiff)   and     Double      Grand
            22      in 1999 and subsequently amended .            Corporation Limited {Defendant), Bates
                                                                  numbered      MGA      0885348-MGA
            23                                                    0885418 at 0885376, Zeller Dec., Exh.
                                                                  120.
            24      165. The Bryant-MGA A reement was Bates-numbered         M00125293-
            25
                    referred to   as  a               M00-12617 at M0012596, Zeller Dec.,
                                  in the litigation between Exh. 115.
            26      MGA Entertainment, Inc. and Uni-
                    Fortune Toys Industrial Limited Fu We
            27      To s Limited.
            ^R
                    166. Mattel develo ed the " Grand De osition Transcri t of Jill Nord uist


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                          '                             MATTEL'S STATEMENT OF GENUINE ISSUES RE i3RYANT
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                    Entrance Doll", a series of dolls that. Vol, 1 ("Nordquist Tr. Vol. 1 "}, July 31,
               1
                    were to be designed by a specific 2007, at 110:114-111:17, Zeller Dec.,
              2     designer. Carter Bryant was selected to Exh. 51.
                    desi n the first Grand Entrance Doll.
              3     167. Bryant never asked to negotiate, Bryant Tr. Vol. 3 at 631:9-639:22,
                    modify or customize his Inventions Zeller Dec., Exh. 3.
              4     Agreement or Conflict of Interest
              S       uesitonnaire.
                    168. The       Conflict  of     Interest See 1995 Conflict of Questionnaire,
              6     Questionnaire that Bryant signed in      Zeller Dec., Exh. 101; see also 1999
                    1995 had identical language to the one   COI Questionnaire, Zeller Dec., Exh.
              7     he si ned in 1999.                       32.
              8
                    169. When Bryant started at Mattel in    Conflict of Interest Questionnaire, dated
                    1995, he signed a Conflict of Interest   November 6, 1995, Zeller Dec. Exh
              9       uestionnaire.                          101.
                     170. Bryant disclosed in the 1999 COI COI Questionnaire, Zeller Dec., Exh.
             la     Questionnaire the design work that he 32.
                    did for Ashton Drake galleries while he
             11
                    was m. Missouri. Notably, he ,did not
             12     disclose any work related to Bratz as
                    Navin been done durin that time.
             13     171. The        Inventions    Agreement Inventions Agreement, Anderson Dec.,
                    provided, in compliance with California Exh. 8.
             14
                    Labor Code § 2870, that the assignment
             15     did not reach inventions that Bryant
                    might develop exclusively on his own
             16     time and with his own resources, unless
                    they related to Mattel's toy business or
             17     resulted from work he performed for
                    Mattel.
             18
                    172. At no time did Bryant disclose to        Bryant Tr. Vol. 4 at 885:3-18, Corey
             19     Mattel either his work on Bratz or the        Dec., Exh. 4; Bryant Tr. Vol. 1 at
                    agreement that he entered into with           209:18-23, Corey Dec., Exh. 1.
            20      MGA while a Mattel em to ee.
                    17'3. Bryant has admitted creating            Carter Bryant's Responses to Mattel,
            21
                    and/or revising more than a dozen of his      Inc.'s Fifth Set of Requests for
            22      Bratz drawings while employed by              Admission at Response Nos. 27-29,
                    Mattel, including works registered with       Zeller Dec., Exh. 102.
            23      the Co ri ht Off ce b Mattel.
                    174. Bryant testified that he has earned      Bryant Vol. 5 at 948:17-949:24, Zeller
            24
                    approximately $20 million in royalties        Dec., Exh. 5.
            25      from MGA with res ect to Bratz.
                     175. Br ant    himself testified that        Deposition Transcript of Carter Bryant,
            26                        is equivalent to ^          Vol. 4 {'Bryant Tr. Vol. 4"}, dated
                                 an admission that puts           January 23, 2008, at 861:4-13, Corey
            27      Bryant's Bratz works within the terms of      Dec., Exh. 4.
            7R      the A reement.

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                          '                           MATTEL'S STATEMENT OF GENUINE ISSUES RE BRYANT
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               176. During the last portion of Bryant's See Bryant Time Record, marked as
           1   employment with Mattel, he did not Exhibit 350 at the Deposition of Arnold
           2   record any time in Mattel's time- Artavia, at 6, Zeller Dec., Exh. I24;
               keeping system to any Mattel projects, Deposition Transcript of Arnold Artavia
           3   but recorded an unprecedented amount at 95:6-96:9, 105:24-106:1, Zeller Dec.,
               of                and -time. Exh. 125.
           4
           S   177. He claims he solicited Elise Bryant Tr. VoI. ^ 2 at 292:14-293:3,
               Cloonan-his roommate and a fellow Zeller Dec., Exh. 2; Cloonan Tr. at
           6   Mattel employee----to help him prepare 129:14-132:5, Zeller Dec., Exh. 17.
               his Bratz pitch materials, but she has no
           ^   recollection of this.
               i 78.                                     Inventions Agreement, Proctor Dec.,
           8
                                                         Exh. 5.
           9
          10

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         21    179. Bryant also falsely certified that Proprietary Information Checkout Form,
         22    he had returned to Mattel all the •designs Proctor Dec., Exh. 7.
               and other work he had done while
         23    em to ed b Mattel.
               180. Even B ant's         counsel     has Transcript of Hearing           Regarding
         24    conceded                                   Mattel's Motion to Dismiss Bryant's
         25                                               Counter-claims, dated June 26, 2006, at
                                                           12:23-25, Proctor Dec., Exh. 8.
         26
         27    181. Bryant left California in early Bryant Tr. Vol. 1 at 44:24-45:3, Zeller
               1998 and moved to Missouri to live with Dec., Exh. 1.
         ^R

                                                      69
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             1        his parents . Bryant Tr. Vol. 1 at 44:24-
                      45:3.
             2        182. Victoria O'Connor testified that O'Connor Tr. at 222:1-7, Zeller Dec.,
                      B ant would                               Exh.4b.
             3          1           because he invented a
                      conce t.
             4
             5
                      DATED: March 25, 2008           QUIIVN EMAN^UEL URQUHART OLIVER &
             6                                        KEDGES, LLP
             7
             8                                        By /sl Jon. D. Core
             9                                           Attorneys for Mattel, Inc.

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